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LANDFILL GAS SYSTEM ASSESSMENT

for the

JEFFERSON PARISH LANDFILL

Prepared By:

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August 15, 2018
Jefferson Parish Resolution No. 131323

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1.a Report Certification

This Landfill Gas Collection System Assessment Report was prepared for Jefferson Parish, Louisiana by
Carlson Environmental Consultants, PC under the supervision and direction of the undersigned.

Carlson Environmental Consultants, PC

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Kristofer L. Carlson, P.E. Date
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Seth A. Nunes, P.E. “tii Date

Senior Vice President

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1.b Executive Summary

Carlson Environmental Consultants, PC (CEC) is pleased to provide this Landfill Gas System Assessment
Report to Jefferson Parish, Louisiana (Parish) containing observations, conclusions, and
recommendations based on our assessment of the landfill gas (LFG) collection system at the Jefferson
Parish Landfill (Landfill). CEC’s field assessment was performed on May 14 - 18, 2018 and was intended
to primarily assist Jefferson Parish with assessing the condition and operation of the existing LFG system
and determining options for reversing a downward trend in overall methane quality and available LFG
for recovery. The performance objectives given to CEC by the Parish were to maximize recovery of
available landfill gas and maximize gas quality. Additionally, once CEC was on-site, we were made aware
of potential landfill gas related odors and hydrogen sulfide (H2S) gas emissions at the facility. At the
request of the Parish, CEC is also providing general recommendations, based solely upon the information
available and reviewed, for addressing the elevated H2S and odor emissions as part of this Assessment.
The Assessment is not intended to provide comprehensive plans for H2S health and safety or odor
assessment, prevention, or mitigation. The Assessment is also intended for readers with at least a basic
understanding of solid waste and landfill gas management.

CEC identified several issues that may require attention and are impacting the recovery of landfill gas.
These findings are detailed in Section 3. The most important conclusions and recommendations
include:

1. Hydrogen sulfide (H2S) is a toxic gas. H2S gas levels were recorded in the LFG system and in
the air surrounding the LFG system in Phase IVA. While it is not uncommon for landfill gas to
contain H2S, particularly for sites that have accepted sulfur bearing wastes such as drywall,
without proper training, monitoring, and safety measures, elevated levels of H2S gas pose a
worker safety concern for the site. Jefferson Parish should immediately take steps to train and
equip employees and third-party contractors. Jefferson Parish should further investigate the
source of the H2S gas and take steps to limit the future generation. H2S has a relatively low
odor threshold and a well-known “rotten egg” smell. H2S in fugitive landfill gas emissions can
contribute to objectionable odors. However, when combusted in landfill gas flares or engines,
nearly all H2S is converted to non-odorous sulfur dioxide. Minimizing production of H2S, while
also enhancing collection and recovery of landfill gas, will reduce the chance of objectionable
odors. CEC understands the Parish has already taken steps to identify and eliminate waste
streams that may be generating H2S. The Parish should also review air permit limits for sulfur
dioxide emissions given the elevated levels of H2S present in the gas.

2. Subsurface liquids are impacting the effectiveness of the LFG system and likely contributing to
gas emissions, the site odors, and the reduction in landfill gas recovery volumes. Deficiencies
were found in both the landfill gas condensate and leachate collection pumping systems. Liquid
removal needs to be one of the primary focuses of the Parish at this site.

3. The existing LFG collection system and liquids handling infrastructure will require upgrades to
meet the Parish’s performance objectives. The two primary areas of focus need to be the
replacement of vertical gas wells and the installation of infrastructure to facilitate liquids
removal. CEC has provided a preliminary engineering design and an estimate of probable cost
for each project in this Report.

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4, The operations and maintenance program for the LFG and the leachate collection systems will
require modification and an increased level of effort to meet the Parish’s performance objectives
on an ongoing basis. The O&M frequency, tuning objectives, maintenance level, data
collection, and pump servicing will need focused attention.

5. The available depth of waste in the Landfill is shallow and combined with the subsurface liquid
impacts appears to be a contributing factor to the reduced landfill gas recovery. Jefferson
Parish may consider modifying the permitting and/or construction of future waste cells to allow
increased waste depths and/or more effectively coordinating efforts between the landfill waste
operations and the landfill gas collection to provide the most effective landfill gas recovery.

1.c Referenced Background Information

Jefferson Parish provided the following background data and information that, in addition to our field
assessment, CEC referenced and relied upon to complete this Landfill Gas System Assessment Report:

1. Landfill Gas Collection and Control Plan for Phase IVA for the Jefferson Parish Sanitary Landfill
by Golder Associates, Inc. dated January 2017

2. Landfill Gas Reserve Evaluation for the Jefferson Parish Landfill by Cornerstone Environmental
dated November 2015

3. Jefferson Parish Landfill Gas Collection System Expansion Cells 20-21 Drawings by Golder
Associates, Inc. and Kyle Associates, Inc. dated August 2017

4. Operations and Maintenance Monthly Report for the Jefferson Parish Landfill by APTIM dated
December 2017

5. Landfill Gas Wellfield Data for April 2018 by APTIM dated April 2018

6. Jefferson Parish Landfill Well Pump Inspection by APTIM dated January 2018

7. Proposed Site Master Plan Drawing for Phases 3 and 4 for the Jefferson Parish Landfill by CDM
dated August 2004

8. Landfill Gas Utility Flare Package Drawings by LFG Specialties, Inc. dated January 2000

9. Draft Landfill Gas Collection System As-Built Site Plan Drawing by APTIM dated January 2018

10. Phase I and IT LFG System Record Drawings by EMCON/OWT dated June 2000

11. Phase IITA Cells 1-5 LFG System Record Drawings by Shaw Environmental, Inc. dated August
2005

12. Phase IIIA Cells 6-12 LFG System Record Drawings by Shaw Environmental, Inc. dated January
2007

13. Phase ILIB Cells 13-15 LFG System Record Drawings by CB&I dated April 2014

14. Phase IIIB Cells 16-19 LFG System Record Drawings by Infinity Engineering Consultants, LLC
dated June 2015

15. Flare Operation Circular Charts for January 2017 to December 2017 provided by Jefferson
Parish

16. Phase IVA Cells 20-21 LFG System Bid Drawings by Golder Associates, Inc. dated August 2017

17. Monthly Leachate Flow Data for 2013, 2014, 2015, 2016, 2017, and 2018 provided by Jefferson
Parish

18. Renovar Landfill Gas Rights Contract with Jefferson Parish dated January 18, 2005

19. First Quarter 2018 Methane Migration Probe Sampling Data dated February 1, 2018

20. Jefferson Parish Solid Waste Permit Renewal dated January 2010

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21. Title V Renewal Permit for the Jefferson Parish Landfill dated June 23, 2015
22. Title Vand NSPS Alternate Timelines and Variance Submissions and LDEQ Approvals various

dates
23. Title V Semi-Annual Monitoring Report for the January 1, 2017 to June 30, 2017 Period for the

Jefferson Parish Landfillby APTIM dated August 15, 2017
24. Report on the Re-perforation of 14 Gas Wells at the Jefferson Parish Landfillby APTIM dated

August 28, 2017
25. Well Logs for Vertical Gas Wells at the Jefferson Parish Landfill (various dates) provided by

Jefferson Parish

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1.d Site Background

The Jefferson Parish Landfill (Landfill) is a municipal solid waste (MSW) landfill located in Avondale,
Louisiana and owned by the Parish of Jefferson (Parish). The operation of the MSW disposal facility is
performed by contractors for the Parish and the facility is currently operated by IESI, a Waste
Connections, Inc. company. The operation and maintenance (O&M) of the LFG collection and control
system is performed by APTIM, Inc. and the landfill gas-to-energy (LFGTE) rights and LFG compression
facility is operated by Renovar, Inc. (Renovar). CEC understands that Renovar had sold the contractual
gas rights to Mas Energy. Renovar and IESI were the titles most often used by Parish personnel, so
CEC will refer to the third-party gas developer as “Renovar” and the third-party waste disposal
contractor as “IESI” in this Report. Other contractors perform various additional functions for the

Parish at the facility.

Solid Waste Areas
The Landfill facility is located at 5800 Highway 90 West in Avondale, Louisiana and has approximately

346 acres with 324 acres of developed area for waste disposal.

The Landfill consists of the following phases:

e Phase I - Approximately 75 acres and 3,338,414 tons of waste
Located on the western side of the facility and began accepting waste in June 1982. Phase I
accepted waste until August 1988 and was closed temporarily until a vertical expansion re-
opened Phase I in November 1993. The area was permanently closed in December 1997. Has
a soil closure cap consisting of two (2) feet of clay and 6-inches of vegetative soil. The initial
LFG collection system was installed in Spring 2000.

e Phase II — Approximately 78 acres and 2,021,721 tons of waste
Located on the southwestern portion of the facility and began accepting waste in August 1988.
Waste was accepted until October 1993. Has a soil closure cap consisting of two (2) feet of
clay and 6-inches of vegetative soil. The initial LFG collection system was installed in Spring

2000.

e Phase IIIA — Approximately 73 acres and 4,441,900 tons of waste
Located to the east of Phase I and to the north of Phase II. Accepted waste from January 1988
to April 2013. Approximately 58 acres have a geosynthetic final cover system with
approximately 15 acres on the eastern slopes containing an interim cover system awaiting the
future waste overlay from Phase IVA. The LFG collection system was installed in two (2)
phases in 2005 and 2007.

e Phase IIIB — Approximately 46 acres and 2,945,115 tons of waste
Located to the east of Phase IIIA and began accepting waste in August 2005 (following
Hurricane Katrina) and continued accepting waste until May 2013. Approximately 31 acres
contains a final geosynthetic cap and 15 acres have an interim cap awaiting a waste overlay.
The LFG collection system was installed in two (2) phases in April 2014 and June 2015.

e Phase IVA — Approximately 55 acres
Located to the west of Phase ITIB and has constructed approximately 20 acres (Cells 20, 21,
and 22) and has future 35 acres in Cells 23, 24, and 25. Phase IVA will overlay onto a portion

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of Phase IIIA and Phase IIIB and fills the valley between. Waste acceptance began in May
2013 and is the current active area. The LFG collection system was installed in a portion of
Phase IVA Cells 20, 21, and 22 in May 2018 with another expansion planned for the Fall of
2018.

e Phase IVB — Approximately 113 acres
A future waste area located to the south of Phase IIIA that was permitted in 2004.

Landfill Gas Collection System

The LFG collection system has approximately 220 gas wells and collectors spread over four waste
mounds. The collected gas is routed via buried HDPE piping ranging in size from 4-inch to 14-inch to
either a blower/flare station or a gas processing plant. Liquid condensate from within the landfill gas is
collected at low points in the header piping network in traps or sumps. The liquids either self-drain or
are pumped into a common liquid force main with other site liquids including leachate. CEC has
provided our observations on the condition of the existing LFG collection system including photographs
and recommendations for improvement in subsequent sections of this Report.

The Parish was working on an updated LFG collection and control system as-built at the time of CEC’s
assessment. Therefore, a complete LFG system as-built drawing showing the latest aerial topography
and up-to-date LFG collection system expansion information, including the calendar year 2018
expansion information, was not available. CEC relied upon older drawings and used field observations
to approximate the location of some LFG system features.

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Landfill Gas Control System and Gas Processing Facility

raat The LFG is routed to one of
ie two possible locations at the
facility. The primary option is
to route LFG to the gas
: processing plant operated by
Renovar. This facility has
vl blowers that provide vacuum
to the wellfield and once
collected, routes the gas
through a series of treatment
steps before routing the gas
off-site for beneficial use by a
| third-party. A detailed review
of the Renovar facility was not
part of this Task 2 Scope.
Based on records reviewed by
CEC, the gas processing plant
operates over 98% of the time
with the open flare operating
only during maintenance or

emergency shut downs.

The second option is to route gas to the on-site open flare station. The flare is an LFG Specialties, Inc.
Model No. CF1228110 open or utility flare (Serial No. 1663) with a 12-inch diameter stack. The flare is
attached to a blower skid with three (3) Hoffman Blowers Model No. 38302B14. The maximum flaring
capacity of this skid is approximately 3,000 scfm. CEC has provided our assessment of the blower/flare
unit including photographs and recommendations for improvement in subsequent sections of this
Report. The blower/flare skid was installed in 2000 and is approximately 18 years old. The typical life-
span of blower/flare equipment is approximately 20 years; therefore, Jefferson Parish should begin to
budget for a replacement of this unit in the next 2-3 years. While the use of the blower/flare skid is
limited with the operation of the gas processing facility, Jefferson Parish is responsible for maintaining
LFG control capability in the event the processing facility is inoperable.

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Air Compressors

The site has four (4) primary air compressors for the LFG collection and control system that CEC
observed:

e Ingersoll-Rand Model No. 2545 — 125 PSI and 27.1 ACFM — located in Phase I — was not
operating at the time of CEC’s assessment

e Champion Model No. HR7F-8 — 175 PSI and 23.1 ACFM — located in the blower/flare compound
— was not operating at the time of CEC’s assessment

e Champion Model HRA25-12 — 125 PSI and 90.1 ACFM — located in Phase II — was not operating
at the time of CEC’s assessment — site personnel indicated the electrical power to this
compressor needed repair

e Gardner Denver Model EBH99H-40-125 PSI and 155 ACFM — located between Phase I and
Phase IITA — was not operating at time of CEC’s assessment — a temporary compressor was
operating while repairs to this model were being completed

and is not connected to the wellfield. Therefore, the total available air supply to the wellfield
(assuming the other 3 compressors are in operation) at 125 PSI is approximately 272.2 ACFM.

The site currently has QED AP-4 pneumatic pumps (or equivalent) which consume approximately 4
ACFM of compressed air pump at maximum operating conditions. Therefore, the site's air capacity can
handle approximately 68 QED AP-4 pneumatic pumps operating at maximum load. Assuming the
facility will need a pump in 75% of the gas wells, this equates to about 160 pumps. Assuming an
average operation time of 50% equates to a required air supply capacity to handle 80 pumps at
maximum load or 320 ACFM.

Considering the age and condition of the smaller air compressors in Phase I and Phase II, CEC
recommends the Parish purchase a 2" larger air compressor (i.e. 150 PSI at 200 ACFM) with a
refrigerated dryer to be installed closer to Phase IV. This will allow some redundancy should the air
supply network become compromised. Please note that this calculation is based on the QED AP-4
pump and other pump models may have higher or lower air demands.

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Please also note that dry compressed air is preferable for the pneumatic pumps and the only dryer
system CEC noted that was suitable was located with the Gardner Denver compressor. CEC did note
significant liquids in the air supply piping and likely these liquids have and will cause pump failures.

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1.e Regulatory

The Jefferson Parish Landfill is regulated under several federal and state rules and holds permits from
the Louisiana Department of Environmental Quality (LDEQ), who refers to the facility as Agency
Interest No. 6961. The primary permits affecting the generation and recovery of landfill gas are the
Solid Waste Permit (No. P-0297-R1) and the Air Quality Permit (No. 1340-00140-V6). The Solid Waste
Permit was last renewed on January 22, 2010 and has a 10-year permit period with the expiration on
January 22, 2020. A renewal application must be submitted to the LDEQ no later than 455 days prior
to the January 22, 2020 date. The Air Permit was last renewed on June 23, 2015 and is a 5-year
permit period with an expiration on June 23, 2020. A renewal application must be submitted to the
LDEQ no later than 180 days prior to the June 23, 2020 date. Both permits have numerous regulations
and requirements and the detailed review of the Landfill’s compliance with these permits was outside
CEC’s scope for this Report.

CEC did perform a cursory review of the Landfill’s Air Permit and Air Regulatory Compliance as these
items more directly impact the generation and recovery of landfill gas. The Landfill is currently
regulated under 40 CFR 60 Subpart WWW of the New Source Performance Standards (NSPS). This
regulation forms the primary basis of the requirement to install, operate, maintain, and test landfill gas
collection and control systems and its requirements are included in the facility's Title V Permit. The
Landfill was required to submit to the LDEQ a GCCS Design Plan that essentially provides a basic layout
of the future landfill gas collection and contro! system and demonstrates how the facility will comply
with the NSPS requirements. Jefferson Parish submitted a GCCS Design Plan dated October 28, 1998
that covered Phases I through IIIB and a GCCS Design Plan dated January 2017 that covered Phase
IVA. The LDEQ approved the Phase IVA GCCS Plan on July 14, 2017. A GCCS Design Plan has not
been submitted for Phase IVB and this would be required prior to waste filling in that area.

CEC reviewed the basic (minimum) requirements of the landfill gas collection system in the Phase IVA
GCCS Design Plan (Plan) and overall the Plan is consistent with Solid Waste Industry Standards and
Plans CEC is familiar. CEC has highlighted the following unique design elements from the Plan as these
have a significant impact on the recovery of landfill gas:

e Radius of Influence (ROI) for Gas Wells of 100 feet

o The ROT is the theoretical area around a gas well that vacuum can affect to extract
landfill gas. The gas wells are spaced based on the ROI to allow slight overlap but to
prevent cross-interference. The ROI is based on an engineering calculation taking into
consideration typical waste consistency, the cover conditions, applied vacuum, and the
resulting gas quality desired. An ROI of 100 feet is common and appropriate for a
shallow waste landfill and is reasonable for Jefferson Parish. ROI’s can generally be
increased (>100 ft) (i.e., wider well spacings) with deeper waste, synthetic covers, and
less stringent gas quality demands. In this case, the ROI’s would not be able to be
increased without a modification to the Landfill’s GCCS Design Plan. ROI’s can be
decreased (<100 ft) (i.e., tighter well spacing) as a reaction to poorer cover
conditions, subsurface water impacts, and higher LFG quality demands (e.g. lower O02
and lower N2 requirements).

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e Gas Well Construction Using 10-feet of Solid Pipe

o The vertical gas wells are to be constructed of 6-inch SDR 11 HDPE pipe with 10-feet of
solid pipe below grade connected to perforated pipe extending the remainder of the well
bore. Typical solid pipe lengths found at most MSW landfills are 15 to 25 feet
depending on the well depth, cover conditions, and desired applied vacuum. In general,
the longer the solid pipe, the better the gas quality and higher vacuums that can be
applied to the gas well. Therefore, a solid length of 10 feet will have operational
limitations; however, the length does appear reasonable considering the site-specific
factors. The waste depth at this facility is relatively shallow (40-75 feet). Therefore,
using typical solid pipe length would result in shorter perforated pipe. The Landfill also
has an aggressive final capping schedule and has geosynthetic or clay caps on all
available areas. With the additional impacts of subsurface liquids affecting perforated
pipe length, maximizing perforated pipe in all gas wells is an acceptable design
approach.

The Phase IV GCCS Plan also provides several regulatory alternate operating procedures that can assist
Jefferson Parish with its compliance with 40 CFR 60 Subpart WWW. These alternates, which are
intended to provide Jefferson Parish with a more effective response to common LFG system problems,
include the following:

e Alternate measures to comply with the NSPS requirement to install a new gas collector within
120 days of a surface emissions monitoring exceedance. These measures include dewatering
gas wells, installation of a horizontal gas collector, or improvements to the control devices.

e Exclusion of monitoring gas wells and collectors if they are located in an active waste filling
area. This is primarily for personnel safety and to allow gas collectors to be raised as waste
filling is placed around them.

In addition to these alternates, CEC noted that Jefferson Parish has obtained approval from the LDEQ
for several NSPS alternate operating procedures, including the use of what is widely termed in the Solid
Waste Industry as “non-producing gas well” procedure. This specific gas well procedure was first
approved by the USEPA in 2008 and must be approved by each state agency on a case-by-case basis.
Based on letters reviewed by CEC, the LDEQ has been approving selected wells from the Jefferson
Parish Landfill based on gas quality and location. In areas of older waste where gas flow rates are
declining, application of minimal vacuum may result in air infiltration that could cause an exceedance of
the NSPS WWW oxygen limit. Essentially, the non-producing procedure allows Jefferson Parish to close
a well (i.e. apply no vacuum) with elevated oxygen until the well has either positive pressure or oxygen
has declined below the NSPS WWW limit of 5%. — ‘This is a very effective procedure to allow sites with
older waste areas to continue to operate gas wells with declining gas flows yet still allow for gas
extraction. Generally, older waste areas will generate smaller amounts of recoverable landfill gas, and
without this procedure, the NSPS requirements would be difficult (if not impossible) to comply with and
may ultimately require the gas well to be abandoned in place.

While an effective alternate procedure and often the only reasonable option, CEC’s experience is that
facilities can become over-reliant on the procedure to delay repairs, dewatering, or other improvements
that may both provide additional gas recovery and regulatory compliance. Essentially, a gas collector
that has high oxygen (>5%) is not operating normally. CEC recommends that all wells on the “-non-
producing” list be reviewed often for possible repairs or other options to maximize the gas recovery.

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In summary, the regulatory status of the Landfill as it relates to the landfill gas system appears to be in
satisfactory condition. While CEC’s field work was not intended as a regulatory monitoring event nor
did CEC examine every possible document or confirm previous Landfill compliance activities, we did not
observe obvious issues or gaps. The documents provided by Jefferson Parish indicate that the facility
is also coordinating often with LDEQ and securing the necessary air compliance variances. CEC’s
primary concern is the large amount of gas collectors that require air permit variances, which indicates
significant problems within the LFG collection system that need addressed.

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CEC’s field activities were performed by Mr. Kristofer Carlson, P.E. He was assisted in the field by Mr.
Brock McNabb, EIT and Mr. Joe Townsend of CEC.

The field data collected during the assessment included the following:

Gas quality at selected existing wellheads and at blower/flare station;

Depth to water, depth to bottom, and well casing height at selected wells;

Visual assessment and physical inspection of all wellheads, pumps, and associated equipment;
Informal interviews with Jefferson Parish, APTIM, IESI, and Renovar personnel concerning on-
going maintenance, known problems, etc;

Surface methane emissions scans (TVA-1000B);

Hydrogen sulfide emissions surface scan (Jerome Meter);

Hydrogen sulfide emissions samples (Drager Tubes);

Air compressor station inspections; and,

Blower/flare station inspection.

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CEC used standard LFG monitoring equipment, including a LandTEC GEM 5000 and Thermal
Instruments TVA-1000B. All data was logged into CEC’s field books.

The collected data is shown in the below attachments:

Exhibit 1 — LFG Field Data

Exhibit 2 - Gas Well Water and Perforated Pipe Analysis (CEC Data)
Exhibit 3 - Gas Well Water and Perforated Pipe Analysis (APTIM Data)
Exhibit 4 — Leachate Riser Assessment Data

Exhibit 5 - LFG Sump Assessment Data

Exhibit 6A — Hydrogen Sulfide Jerome Meter and Drager Tube Readings
Exhibit 7 — Surface Emissions Monitoring Scan

Based on CEC’s experience over at over a hundred landfills with similar characteristics, the overall
wellfield condition was below average during CEC’s
assessment week. The following items contribute to this
assessment:

e New gas flex hose and sample ports had been recently
= installed, but except for the newest wells installed in Phases
= IIIB and IVA, the wellhead conditions were poor with old
wellheads, duct tape, leaking connections, and use of SCH40
PVC parts.

e Broken and bent isolation valves of all types were
observed and valve handles were missing or broken.

e An excessive amount of leaning or bent gas wells were
observed. A leaning well indicates the casing pipe is likely

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pinched and restricting gas flow. A leaning well also may prevent a down well pump from being
installed.

/ e« Few gas well pumps were observed to be in operation with
many of the observed air and force main risers, valves, and
connections in poor condition.

e The use of SCH40 PVC for any air or force main lines is a
potential safety hazard for shattering and breaking as SCH40
PVC has a lower pressure rating, particularly when exposed to
ultraviolet radiation, use of fittings, etc. Most of the LFG
industry uses HDPE or steel pipe and connections and not PVC
as a Safety precaution.

= e Three (3) of the air compressor stations were inoperable
| due to various problems during CEC’s visit.

e No maintenance was observed to have been performed on
the final cover system boots in Phase ITIA or Phase ITIB.

e Holes in the soil cover system, holes in the final
geosynthetic system cap, cut and capped HDPE lines without burial, and various other repairs
and partially completed projects were observed.

e Less than 50% of the leachate pumps appeared to be in operation or ready to operate.

All of these items contribute to the reduction in recoverable landfill gas either by limiting the operation
of the LFG system, reducing the diagnostic functionality, or limiting the design effectiveness of these

components.

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CEC reviewed the data collected by our technicians and the historical data provided by Jefferson Parish
and has the following conclusions and recommendations. Several of these conclusions and
recommendations are discussed in other sections of this Report, but for ease of implementation, CEC
has compiled the complete list here:

1. The primary means for LFG recovery at this site is via vertical gas wells. CEC assessed the
amount of available perforated pipe below grade and developed theoretical radius of
influence (ROI) maps based on various conditions (i.e., original construction, current
condition without liquids, and current condition with existing liquid impacts.) These ROI
maps are located in Exhibit 12.

To summarize the preliminary ROI findings, the site-wide average perforated pipe, at the
time of each vertical well’s original construction, was 18 feet. Based data provided by
APTIM and CEC field data, the current site-wide average perforated pipe is approximately 14
feet (not considering water impacts) per vertical well. Considering water impacts, the site-
wide average perforated pipe reduces to 9 feet per vertical well. The site has a relatively
shallow waste mass; therefore, shorter perforated pipe lengths are expected, but 9 to 14
feet is a small area of gas recovery zone per vertical well.

The newest vertical gas wells installed over the past 3 years (i.e., the 400 and 500 series
wells) have the highest LFG recovery potential, and in a review of these wells alone, the
original perforated pipe length was an average of 25 feet. The current perforated pipe
average is 23 feet (without water impacts) and 15’ with water impacts. The 400 and 500
series wells have approximately 33% of their available perforated pipe blocked by water.

Therefore, the Jefferson Parish Landfill is a shallow, wet site, with subsurface liquids
impacting the limited pathways of available LFG recovery. CEC has provided the Parish with
a list of recommended vertical wells to replace and a list of wells that appear suitable to
retain and dewater. The Parish should require that all future LFG system designs take into
consideration the shallow and wet waste conditions.

2. Water within the waste mass is the primary problem for optimum operation of the LFG
system at this site and creates or magnifies all other problems noted in this Report.
Watered-in LFG components generate additional up-front costs, maintenance on pumps and
wells, require replacing wells, and requires more frequent gas well tuning to optimize the
gas recovery from this Landfill.

Based on the water level data CEC collected (see Exhibit 2), the site has 95 of 225 total
vertical wells with greater than 50% of their available perforated pipe covered by liquid and
of these 45 wells have over 100% blocked by liquid (completely restricted). Out of the
newly installed (in 2018) gas wells (500 series), five (5) have more than 50% of their
perforated pipe covered by liquid. With the limited amount of available perforated pipe, the
additional impact created by elevated subsurface liquids severely restricts the recovery of
LFG. CEC estimates that this effectively has reduced the ability of the gas system by at
20% to 50% to collect generated gas from the Landfill.

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Jefferson Parish should expedite the installation of new pumps and/or repair any pumps
that require maintenance with particular focus on wells with greater than 50% of their
perforations blocked by liquids. In conjunction with the new pumps, air and force main
piping may be required to some areas without current air or force main systems or areas
where the air and force main are not operable. CEC recommends installing air and force
main piping to all new gas collectors in future LFG system expansions.

3. In consideration of the limited amount of perforated pipe available in most wells, CEC
recommends that all pneumatic pumps be exhausted inside each gas well. Currently, all
pumps exhaust outside the well casing. Exhausting outside the well prevents the exhausted
air from affecting LFG quality; however, the imbalance of air pressure between the outside
ambient pressure and the inside well negative pressure delays the activation of the pump
until the negative pressure is overcome by the liquid head pressure over the pump. This
effect leaves more liquids inside each well that will not be pumped. CEC estimates that
approximately 6 feet of liquids are retained in most vertical wells at the site and are not
pumped due to the position of the pump in each well, the style of pneumatic pump, and the
location of the pump exhaust.

Exhausting inside the well will balance the air pressure within the pump and allow maximum
liquids removal. CEC has prepared a calculation of the improvement gained by exhausting
pumps inside the well casing (see Exhibit 11) and the estimate is up to 704.5 feet of
additional unblocked perforated pipe. CEC’s experience is the additional air added to the
LFG when exhausting pumps inside the casing is almost undiscernible at the blower inlet;
however, this may be a concern to potential high BTU applications and would need to be
reviewed prior to application. There are alternate methods and pumps to achieve the same
maximum dewatering; however, exhausting inside the well casing is the most cost effective
and least maintenance intensive method.

4, Another recommendation to help reduce the water levels in gas wells would be to install a
“low drawdown” pneumatic pump. These pumps have a lower water level at which they will
allow the pump to cycle which allows more liquids to be removed from each well. The low
drawdown pumps cannot discharge as much liquid per pump stroke as a standard pump;
however, slow and steady pumping is preferred for gas wells over higher liquid volumes.
CEC has provided a cost estimate to install the low drawdown pumps (see Exhibit 10).

5. Based on depth to bottom measurements on all gas wells, the LFG system has lost
approximately 12% of its total well depth since the installation of the various phases. The
lost footage is likely due to silt being drawn into the well by gas vacuum or pumping or due
to landfill settlement. Some wells do have older pumps “stuck” in the well casings, which
has prevented accurate depth measurements. While the calculation of lost well depth to
lost gas flow is not linear, it is evident that reductions in well depth have an effect on the
amount of LFG that can be recovered from a gas well.

6. Based on the data provided to CEC, the wellfield is being monitored, tuned, and recorded an
average of once per month. Based on the water levels and the presence of the landfill gas-
to-energy project, CEC recommends a minimum of twice per month monitoring, tuning, and
recording data. Should the Landfill install a High BTU plant or have an end-use that
requires more stringent gas quality and flow, CEC recommends weekly tuning to optimize
gas recovery.

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7. If the wellfield is being tuned and monitored without recording the data, this practice should
stop and all data should be recorded for review. It appeared that many wells had different
(more than 10%) “initial” static pressures than the previous monitoring round “adjusted”
static pressure. It would appear that well adjustments were being made but not recorded.
This difference also could be a function of adjustments to the system vacuum at the blowers
or subsurface water impacts. CEC recommends further investigation to determine the cause
of the fluctuations in static vacuum.

8. Standard wellhead operations within the LFG industry (SWANA and NSWMA guidelines) call
for no greater than a 10% vacuum adjustment at a wellhead valve during any tuning event.
This allows the microbial system to adjust to the change in vacuum and for all the
surrounding wells to adjust to each other. Emergency conditions (i.e., fire, elevated well
temperature, dramatic reduction in gas quality) may require more than a 10% adjustment.
Based on CEC’s review of the data, the monthly wellhead valve adjustments have been
greater than 10% and thus more than the biological system can effectively respond to prior
to the next adjustment. Because of this, the gas quality at some collectors have ranged
from 65% methane to 30% methane in less than 30 days. The static pressure at most
wells has changed more than 200% during each monitoring round. .

CEC recommends a more measured, industry-standard approach to well adjustments be
implemented. It will take several monitoring rounds to increase the gas flow at a well and
patience is required in using this technique; however, it should help prevent the overpulling
of a wellfield, aerobic conditions, and reduce the possibility of a subsurface fire. A
measured approach will also allow senior staff an opportunity to review data in between
monitoring rounds and make recommendations for adjustments.

CEC recommends the Parish discuss the tuning approach with O&M personnel to ensure the
proper vacuum adjustments are being made. If this approach is not in writing, CEC
recommends that Jefferson Parish prepare an O&M guideline to ensure the tuning approach
and tuning strategy are clearly articulated.

9. Based on discussions with the third-party O&M personnel, the tuning strategy is to tune
wells primarily based on oxygen and not based on methane quality. This strategy partially
explains some of the low methane wells at the facility. However, as noted in #12 below,
there were a significant number of high oxygen wells at the facility. While there likely needs
to be several different tuning strategies at this site due to the varying waste ages and other
factors, CEC is concerned that the existing tuning strategy may be impacting the gas
recovery. CEC recommends that the tuning strategy be reviewed by Parish personnel and
directed to APTIM.

10. CEC noted during the interviews with Parish, APTIM, and Renovar that Renovar personnel
were providing a significant amount of assistance on the wellfield tuning and gas recovery.
Many of the questions CEC asked about the operation of the wellfield, well problems, sump
problems, flare station operation, etc were answered by Renovar. It should be noted that
Renovar’s gas processing plant provides over 98% of the vacuum to the wellfield
throughout the year, and to operate effectively, a close relationship between APTIM,
Renovar, and the Parish is necessary. While it is clearly Renovar’s best interest to help the
Parish maximize the quality and quantity of recovered LFG, the Parish should use caution

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when allowing a third-party to provide significant input on the operation of the LFG system
unless all objectives are perfectly aligned.

11. Based on the data provided to CEC, the blower inlet vacuum was set to provide
approximately 30 in-wc vacuum to the wellfield. The blower vacuum was not controlled by
inlet pressure readings controlling a variable frequency drive (VFD) on the blowers, but on
the outlet pressure to the pipeline. As this pipeline pressure demand changed, the inlet
vacuum would fluctuate. CEC observed fluctuations from 26 in-wc to 31 in-wc over the
week of our assessment. While not a significant swing in vacuum (~10%), this fluctuation
will cause issues with the wellfield tuning. A stable inlet vacuum is required for maximum
fine tuning of a wellfield.

CEC recommends that (if possible) the vacuum be controlled primarily by inlet pressure to
the gas processing facility or blowers and not outlet pressure to the pipeline. To accomplish
this, some gas flow is usually diverted to an open flare as the “buffer” device to allow the
blowers to adjust and maintain both the required outlet pressure and inlet vacuum. Again,
the drawback to this approach is the inability to use 100% of all collected LFG. CEC would
recommend reviewing the inlet vacuum over the past year and assessing the impacts of
those vacuum swings to gas flow and quality.

CEC additionally recommends that the inlet vacuum be increased to 40 in-wc at the blower
inlet. CEC noted several locations of reduced vacuum throughout the wellfield, wells that
had wellheads fully open, and watered-in waste conditions, all of which point to the need
for increased system vacuum. This increase should be a slow process over several months
to re-tune the wellfield as the system vacuum is incrementally increased. Please note that
there are currently physical limitations in the LFG system that are preventing the system
vacuum from being increased beyond 30 in-wc.

12. The data indicates that the gas system has been operated in a manner that has likely
exceeded the anaerobic microorganisms’ ability to produce methane gas. In doing so,
ambient air has likely been drawn into the waste mass through the application of excessive
vacuum at individual wells. This overpulling can create aerobic conditions within the landfill
which can stunt or halt the growth of anaerobic bacteria and reduce the generation of LFG.

The presence of oxygen in the landfill gas is a good indicator of problems from either leaks
in the wellhead, gas well casing, overpulling, or from air intrusion through the soil. Of the
data CEC reviewed, 70 gas wells contained repeated high levels of oxygen (>5%) for the
majority of 2018. Without an LDEQ-approved variance, any well with over 5% oxygen
would be considered an air compliance exceedance and would require additional monitoring
and repair. Elevated oxygen levels can also increase the risk of subsurface fires. As CEC
noted in the Regulatory Section of this Report, the site has actively obtained LDEQ-
approved variances for high oxygen wells. While some of these may be a result of old
wastes, a site with almost 33% of its LFG wells exhibiting elevated oxygen needs to be
further investigated

Elevated balance gas levels (i.e., nitrogen) in LFG is a good indicator of aerobic conditions
since some oxygen can be consumed by the microorganisms. Based on CEC’s experience,
balance gas readings of less than 10% are normal for waste of this age. When ambient air
is drawn into waste, the oxygen is initially consumed by the microorganisms; however, the

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nitrogen concentration will increase at the wellhead (range from 10% to 20%). When the
data shows a spike in balance gas, but very little increase in oxygen, and a slight decrease
in methane, this is an indicator of overpulling. Based on the data CEC reviewed, the facility
has approximately 95 wells with less than 40% methane and over 20% balance gas, or
approximately 45% of the gas collectors at the site.

CEC recognizes that the facility has areas that have older wastes, which do produce less
methane, are more susceptible to ambient air intrusion, and will have higher levels of
nitrogen. However, there were many wells that CEC observed with what we would consider
to be excessive vacuum. The vacuum was noted in some instances to be due to likely water
in the wells or reduced perforated pipe, which limits the gas flow and increases vacuum. In
other instances, the elevated vacuum was due to old non-adjusting wellheads or too high of
applied vacuum. If the overpulling is allowed to continue, the microorganisms cannot
survive in aerobic environments and the methane will sharply decline and the oxygen
concentration at the wellhead will increase. While in most cases the gas quality will recover
from these dips, the microorganisms will be impacted and repeated damage to the
biological system will result in lower overall gas production. Elevated oxygen levels in the
waste also increases the risk of subsurface fires.

One possible approach would be to lower vacuums to these waste areas to determine if the
waste areas have been “overpulled”. This reduction in vacuum would reduce the total
collected LFG temporarily and would impact the gas processing facility. Additional
discussions with Renovar would be required prior to proceeding with this recommendation.

13. The existing LFG collection system header and lateral piping appear to be in satisfactory
condition and sufficient for the existing LFG flows. The system vacuum loss from the blower
inlet to the furthest well is within normal tolerance. There are some areas where the piping
has been compromised in Phase IVA near the active waste filling and the available vacuum
is limited. The Parish was preparing to install several temporary vacuum lines to correct the
reduced vacuum until a permanent gas header could be installed in the Fall of 2018. This
should be a priority for the Parish as this area has the most LFG generation, odors, and H2S
emissions.

14. The air supply system and piping are in need of upgrades. During CEC’s review, only one of
the three existing air compressor stations was in operation. The electrical power supply to
one station was inoperable and awaiting repairs. The other station was down for air
compressor repairs. While this was satisfactory during the assessment due to the few
operating pneumatic pumps, CEC’s calculation of possible pump locations, pump operation,
and air demands indicate that the facility will require greater air supply.

Considering the age and condition of the smaller air compressors in Phase I and Phase II
and the possible air demand from adding more well pumps, CEC recommends the Parish
purchase a 2™ larger air compressor (i.e. 150 PSI at 200 ACFM) with a refrigerated dryer to
be installed closer to Phase IV. This will allow some redundancy should the air supply
network become compromised. Please note that this calculation is based on the QED AP-4
pump and other pump models may have higher or lower air demands.

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CEC detected significant liquids in the air supply piping, which may require upgrades to the
existing air dryer systems. The entrained liquids should be blown out during routine
maintenance. Pumping systems operate best on dry air.

The air supply piping is primarily 2-inch SDR 9 HDPE. CEC noted some SCH40 PVC parts in
the network and these parts should be immediately removed since PVC is generally not
rated for high pressure systems. After exposure to ultraviolet rays, PVC can weaken and
may shatter, causing a potential hazard to personnel. The 2-inch supply is generally
sufficiently sized for a multi-compressor set-up and CEC noted 100 PSI available pressure
throughout the network.

15. The condensate force main system is likely in need of significant long-term upgrades. All
leachate and condensate liquids are currently being routed into one common 4-inch force
main that transfers the liquid off-site. Ideally, landfill gas liquids should have a separate
force main system from the leachate force main system. There are several reasons for that
separation: 1) The LFG liquids are primarily pumped by pneumatic pumps while the leachate
system typically uses electric pumps. The pneumatic systems are safer for use around
combustible LFG but are not as powerful as the electric pumps. Therefore, when many
pumps are operating at once, the electric pumps can overcome the pneumatic pumps
causing backpressure that can stall the pneumatic systems. 2) The data seems to point to a
significant amount of liquids in the waste mass at this facility and the New Orleans area
receives a significant amount of rainfall (>60 in per year). The data also indicates (and CEC
observed) that liquids removal has not been successful at the facility (most pumps were not
in operation the days of our field assessment). Therefore, if a concerted effort is made to
remove liquids, then the liquid volumes will significantly increase and the existing 4-inch line
will not be sufficient.

CEC reviewed the force main pipe sizing and is recommending installation of a new low-
pressure landfill gas liquids force main. A new 8” SDR 9 force main with a 12” SDR 17
containment pipe is recommended as the primary landfill gas liquids conveyance pipe off-
waste. This size force main will reduce back pressure, facilitate cleaning, and allow for a
wide range of possible liquid flows. The existing 4-inch force main should remain as the
high-pressure dedicated leachate force main. If needed, the electric leachate pumps can be
swapped to a higher pressure electric pump depending on flow rates. CEC did not perform
a full survey of the existing 4-inch force main and additional upgrades may be required to
allow satisfactory operation or higher liquid pressures.

16. CEC recommends that the existing 4-inch force main line be fully inspected, jetted, and
cleaned to remove likely blockages in the line from sediment and debris. CEC recorded
force main pressure readings from multiple locations in the force main, but due to the lack
of pump operation, we noted 0 PSI pressure readings. CEC does not believe these low
pressures are indicative of the actual force main condition.

17. CEC noted that the facility does not have the necessary infrastructure in place to handle
significant pump maintenance. APTIM handles the pneumatic pump maintenance as part of
their contract, but they do not have the facility nor the personnel on-site that would be
needed to operate and maintain a full-scale pumping operation (i.e., maintaining 80 gas
well pumps and 30+ sumps with pumps). For example, APTIM personnel reported that
most of the pump cleaning was performed on the back of a truck, no pump cleaning station,

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no maintenance location for working on pumps, and all pumps were hung on the fence of
the blower/flare station. A full-scale pumping operation will require a dedicated location to
clean, maintain, and store pumps and parts and staff that can dedicate the time needed to
pull, swap, clean, and maintain pumps. Many pumps require two personnel to safely
remove the pump from the well. For an operation as large as Jefferson Parish, CEC would
recommend at least one (and possibly two) full time pneumatic pump personnel.

18. Only 16 leachate riser pumps out of 34 risers CEC visited were in operation (or could be
operated). This is a 50% rate of pump availability. The leachate pump operation has a
significant effect on the landfill gas recovery at a facility. Landfill gas cannot be generated
in fully saturated waste conditions. Liquids build-up within a landfill starts with the leachate
system and has a domino effect within the LFG system. It is also noted that significant LFG
recovery can occur from the leachate collection system since this piping is in effect a
horizontal gas collection network at the bottom of the landfill. Many facilities recover
significant amounts of LFG from the leachate system. APTIM reported zero gas collection
from the Landfill’s leachate collection system.

CEC understands that the leachate pump O&M is Jefferson Parish’s responsibility until the
pumps can be demonstrated to be in good operation for a set duration, after which, the
leachate pump O&M was to be transferred by contract to IESI’s responsibility. To date, CEC
understands that Jefferson Parish has been unable to satisfy this contractual requirement.
CEC was told that Jefferson Parish did not have the personnel on-site capable to handle the
pump O&M and that this was the primary cause of the delayed hand-off to IESI.

While IESI is certainly capable of handling the leachate pump O&M, CEC recommends that
the Parish consider moving the responsibility of the leachate pump O&M to the LFG O&M
contractor. The personnel, tools, and safety procedures required to work around the
leachate pumps is similar to the LFG pumps. And considering the interconnectedness of the
leachate pumps, the force main systems, and the landfill gas recovery, it would make sense
to align those work efforts and common goals. This would also reduce the potential
conflicts that may arise from multiple contractors working around the liquids removal
systems and help narrow the responsibility of the overall system performance.

19. CEC recommends that, in conjunction with the leachate pump cleaning/repairs
recommended in #18, the Parish jet clean all leachate cleanout and sump piping and video
the lines. Sediment and debris often gets into these lines and can reduce the effectiveness
of the leachate drainage and the pump operation. In many cases, a pump failure is related
to clogged leachate lines. The video will provide a visual inspection of the leachate system
and determine the condition of the leachate lines.

20. CEC’s observations indicated the condensate drip-legs should be investigated further for
potential blockages or replacement with condensate sump/pump combinations. The drip-
legs are condensate removal low-points in the LFG header network that do not have
pneumatic pumps and rely on gravity to drain liquid to the leachate collection system. CEC
noted reduced system vacuum at each drip leg versus the system vacuum at a nearby well,
indicating a possible blockage in the piping leading to the drip-legs. APTIM personnel
verbally noted that the drip-legs were installed shallow and cannot support higher system
vacuums (i.e., higher than 40 in-wc). No actual vacuum threshold was provided to CEC for
each drip-leg and the as-built drawings were not available that showed the actual

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construction depths (the design depths allowed 60 in-wc). Ideally, all condensate features
should be able to handle up to 60 in-wc system vacuum.

21. CEC noted many final geosynthetic boots around gas wells in Phase IIIA that need repair to
prevent air intrusion. CEC recommends that all boots be examined and repaired. This is a
maintenance item that must be reviewed annually in areas with a geosynthetic cover
system.

22. CEC noted no visible final geosynthetic boots around gas wells or pipe penetrations in Phase
IIIB. This would indicate that soil was brought above the boots at some point. Without the
exposed boot, maintenance cannot be performed. CEC recommends that the boots be
exposed and checked at all wells to reduce air intrusion.

23. CEC noted soil cracks in Phase I, Phase II, Phase IIIA, and Phase IIIB. This is largely due
to the dry weather conditions plaguing the New Orleans area recently, but these cracks are
likely negatively impacting the gas quality in all Phases by allowing ambient air intrusion.
They may also contribute to fugitive gas emissions and odor. CEC does recommend the
cracks be repaired by soil placement grading or bentonite. All the cracks are locations for
possible gas emissions and maybe a source of odors. Another measure to help LFG recovery
in areas where the soil is not providing an adequate seal would be to install well bore seals
around selected gas wells. A well bore seal is a 10’x10’ synthetic sheet that is placed
around a well to help provide a synthetic air intrusion seal (see Exhibit 6B for an example
specification). The cost is around $400 per seal for the materials and they are buried about
12-24” deep. The Parish is familiar with these seals and was planning to use well bore seals
around several wells in Phase IVA.

24. CEC noted several locations of LFG system work in Phase IIIB and IVA that were not
completely finalized. Excavated holes to cap leaking condensate force main lines were still
open. Two locations were noted where geosynthetic cap was cut open to make an LFG
system tie-in or repair and the geosynthetic material was not sealed and LFG was leaking
out. CEC recommends that all ongoing “projects” be finalized with holes filled and the
geosynthetic cap repaired.

25. CEC noted 23 vertical wells were leaning or bent over at an angle that would prevent a
pneumatic pump from being installed easily. Most bent wells were in Phases IITA and IIIB
and may have been caused by the installation of the final cover system in those areas.
Other causes of bent wells are landfill settlement and active waste operations. CEC
recommends that if these wells need a pump, then the well should be videoed to examine if
the bend is within 10-15 feet of the ground surface. If so, the well can be excavated to
attempt a repair. If not, the well may need to be replaced to be able to effectively extract
liquids and LFG.

26. CEC utilized a TVA-1000B Flame Ionization Detector (FID) to monitor the surface methane
emissions over a 30-meter serpentine path from all waste areas at the facility (see Exhibit
7). The purpose of this inspection was not intended as a compliance verification but as a
means to determine potential ineffective LFG collection system areas. CEC noted very low
surface methane emissions from Phases I, II, and IIIA. This was expected as these areas
had final cover systems installed. The highest methane readings (10-50 PPMV) in these
areas were around pipe penetrations and well boots. Phases IIIB and IVA had elevated

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methane emissions outside of the final cover area in Phase IIIB. CEC noted high methane
emissions (>200 PPMV) in areas where the geosynthetic cap was cut and not repaired,
around wells and pipe penetrations, and in many areas of the active and recently active
areas of Phase IVA. All locations with methane emissions greater than 200 PPMV were
flagged in the field and Parish personnel were notified.

CEC additionally used the TVA-1000B to help scan areas of Phase IVA for methane
emissions that were suspected to contain hydrogen sulfide (H2S) emissions and a possible
contributor to site odors (see Exhibit 6A). All methane emission locations that were flagged
with 200 PPMV or greater had a follow-up scan for H2S performed using a Jerome H2S
Detector. CEC noted H2S readings of up to 8.5 PPMV at the ground surface around some
soi! cracks, well pipe penetrations, and survey risers. As noted previously, these cracks
should be sealed of with clayey soils or a wet bentonite to prevent emissions.

CEC took Drager Tube samples for H2S concentration in several 500-series landfill gas wells
in Phase IVA (i.e., 500, 501, 502, 511, 512, 516, 519, 524, and HW-04) and observed H2S
concentrations in excess of 2000 PPMV (the max of the sample tubes CEC used) in some of
the wells. CEC also took Drager H2S samples at the blower inlet to the LFG processing
plant and observed readings ranging from 525 to 1050 PPMV at that location. While it is
not uncommon for landfill gas to contain H2S, elevated levels of H2S can pose safety
concerns for workers and contribute to objectionable odors.

CEC previously provided Jefferson Parish with additional information concerning the
observed H2S concentrations and some basic health and safety information concerning H2S
gas. CEC also previously provided general recommendations for responding to the elevated
H2S gases and they include:

a. Maximize the extraction of LFG from Phases IIIB and IVA. Tune all wells frequently
and focus efforts here to maintain the LFG system in peak performance. Increase
system vacuum, remove liquids, etc. and then re-assess to determine if additional
LFG system components need to be installed.

b. Place additional soil around the gas wells to help the O&M personnel access the

wells and to help seal potential gas emissions leaks around the wells.

Install synthetic well bore seals around all pipe penetrations in Phase IVA.

Remove all survey risers or seal them with bentonite to prevent gas emissions.

e. Train all personnel and contractors on the dangers of H2S and develop procedures
and recommended equipment to ensure personnel safety working in these areas.
Personal air monitors are industry standard for workers that may encounter elevated
levels of H2S.

f. Inspect the surface cover in Phase IVA and add soil as needed to help seal cracks.

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27. CEC made a basic inquiry into the source of the elevated H2S emissions. Parish personnel
noted that liquid wastes were being solidified using a lime and fly ash mixture and that this
process had begun about a year ago. Fly ash sometimes contains soluble sulfates that
when mixed with water in conditions commonly found in MSW landfills can produce H2S
gas. See attached in Exhibit 15 a study by Jeff Marshall, P.E. with SCS Engineers that
describes this process. The H2S emissions noted at the facility were in the areas where the
fly ash and lime were used. No H2S emissions were noted outside of these areas. CEC
recommends that the Parish review their waste composition, the solidification materials and

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process, and any other operational factors that may be contributing to the H2S generation
in Phase IVA. The Landfill is generating significant quantities of H2S gas which could create
safety risks without proper training, may contribute to odor problems, and may cause
potential issues with the beneficial use of the landfill gas.

28. The blower/flare skid was installed in 2000 and is approximately 18 years old. The typical
life-span of blower/flare equipment is approximately 20 years; therefore, Jefferson Parish
should begin to budget for a replacement of this unit in the next 2-3 years. While the use
of the blower/flare skid is limited with the operation of the gas processing facility, Jefferson
Parish is responsible for maintaining LFG control capability in the event the gas processing
facility is inoperable.

29. CEC recommends that all gas wells on the air compliance “decommissioned” list be reviewed
often for possible repairs or other options to maximize the gas recovery with the goal of
returning the gas well to normal operations.

30. The Parish was working on an updated LFG collection and control system as-built at the
time of CEC’s assessment. Therefore, a complete LFG system as-built drawing showing the
latest aerial topography and up-to-date LFG collection system expansion information,
including the calendar year 2018 expansion information, was not available. CEC relied upon
older drawings and used field observations to approximate the location of some LFG system
features. CEC recommends that the Parish complete these as-built drawings and perform a
field-assessment to verify the as-built and provide a “true-up” based on actual field
conditions. CEC noted many items on older as-builts that did not appear to be correct
based on actual field conditions. An accurate as-built drawing is critical to facilitating the
operation and improvement of an LFG collection system.

3.a Water Removal and Liquids Infrastructure Improvements

As noted in the Conclusions and Recommendations, subsurface liquids are a significant issue at the
facility and are impacting the recovery of landfill gas. The reduction of subsurface liquids will be a long
process, requiring infrastructure upgrades, O&M procedures updates, and requires the steady removal
of more liquids from the waste than are entering. CEC recommends the Parish begin the engineering
design of the dedicated landfill gas liquids force main (noted in #15) as soon as practical. To facilitate
the design process, CEC prepared a preliminary force main design and engineer’s estimate of probable
cost. These are located in Exhibits 8 and 9. The force main was estimated to be an 8” x 12” dual
contained line with cleanout stations and valve stations located at incremental distances apart.

CEC also recommends the purchase and installation of up to 30 to 50 new pneumatic low-drawdown
well pumps. CEC provided a cost estimate for the pumps and installation based on using the Pump
One brand pneumatic pumps (see Exhibit 10). CEC also provided basic specifications on a
recommended pump cleaning station fabricated by Pump One. Based on APTIM data, the Parish
currently owns approximately 52 pneumatic pumps for both wells and sumps. Purchasing an additional
30 to 50 pumps would allow a pump in slightly less than 50% of all gas wells. Exhibits 2 and 3 show
the amount of liquids measured by CEC and APTIM personnel in gas wells. The number of gas wells
containing over 50% liquid covering their perforated pipe ranged from 30 to 50 wells, with over 100
wells containing over 30% liquids. CEC recommends that the Parish install a pump in all wells with
yellow and red highlighting (if a pump is not already installed) and then install pumps in wells
beginning with greater than 40% liquids and so on.

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CEC recommends the Parish pull, clean, and repair all leachate pumps. While the pumps have been
pulled out, CEC recommends the leachate cleanouts are jet cleaned and videoed. CEC did not perform
a detailed assessment of the leachate collection system to determine possible costs for this work.

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LFG generation modeling was calculated using CEC’s version of the U.S. EPA Landfill Gas Emissions
Model (LandGEM). A description of the LandGEM parameters is provided below and the Model output
is attached in Exhibit 13.

The LandGEM uses a first-order decay equation to predict landfill gas generation based on the amount
and age of the waste in place. The formula is presented in 40 CFR Part 60.754(a)(1)(i). The methane
generation potential, Lo, for the landfill cells was set equal to 100 cubic meters (m3) of methane (CH4)
per megagram (Mg) of waste and the methane generation rate constant, k, was set to 0.05 yr-1.
These values for Lo and k were estimated by CEC for municipal solid waste landfills that are located in
geographical regions that receive above average precipitation (such as Avondale, LA) and the amount
of potential putrescible (i.e., organic) waste.

CEC estimated the LFG recovery percentages for each waste phase area based on the current
extensiveness of the LFG collection system in each area. CEC did not account for LFG system
problems, subsurface water, etc in these recovery percentages. Therefore, the model is intended to
depict the potential LFG recovery assuming the LFG system was operating more effectively. The
overall site-wide LFG recovery was estimated at 50%.

The modeling indicates the facility has the potential to recover approximately 1,860 scfm in 2018 (at
50% recovery). The LFG system was recovering approximately 900 to 1,000 scfm during CEC’s
assessment. Therefore, the LFG system is operating at a potential deficit of about 1,000 scfm. This
deficit appears to be reasonable based on the condition of the wellfield.

Future LFG recovery could increase through expansions of the wellfield in Phase IVA and Phase IVB.
Exhibit 13A shows the projected life of site LFG recovery at a 50% collection efficiency. This equates
to a maximum potential LFG recovery of 2,057 scfm in the year 2036. Should the Parish increase the
LFG collection efficiency to 75%, the amount of potential LFG recovery increases significantly and the
2018 estimated LFG recovery is 2,790 scfm with a maximum potential of 3,085 scfm in 2036 (shown in
Exhibit 13B).

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The scope of this Assessment was limited and was not able to address or investigate all possible LFG
collection system issues. CEC is recommending additional study on the following:

1.

The source of the elevated H2S emissions observed in Phase IVA needs to be identified and
modified to reduce the future generation of H2S gas. CEC believes the H2S may be from the
lime and fly ash solidification process, but it may also be from a specific waste stream, sewage
sludge, or other process. Operational and disposal procedures can also increase the likelihood
and magnitude of H2S production.

The Parish should immediately conduct safety training and develop safety procedures for
workers operating in an environment with potentially elevated H2S emissions.

The LFG collection system as-built drawing should be updated and field checked.
The engineering design of the LFG liquids force main replacement should be completed.

The engineering design of the LFG wellfield modifications (i.e., new wells, new pumps, modified
sumps, etc.) should be completed.

The leachate collection system infrastructure should be evaluated in more detail to determine
possible upgrades and modifications to maintain consistent operation and reliability.

An LFG System Master Plan should be created to evaluate future LFG collection system
expansions, budget requirements, and other factors that will assist the Parish’s forecasting.

This budgeting should include the forecasting of new blower/flare stations, air compressors, and
other large capital expense items.

Jefferson Parish may consider modifying the permitting and/or construction of future waste cells
to allow increased waste depths and/or more effectively coordinating efforts between the
landfill waste operations and the landfill gas collection to provide the most effective landfill gas
recovery.

Due to the high subsurface water levels, all leaning or bent vertical gas wells should be
assessed for functionality to accept a standard LFG pneumatic down well pump. Those wells
that cannot accept the pump should be considered candidates for replacement.

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Jefferson Parish approved the following modifications to this Assessment:

1. The laboratory analysis of a collected landfill gas sample was not performed.

2. A field assessment of hydrogen sulfide emissions in Phase IVA using a Jerome meter was
performed.

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This LFG Assessment Report (Report) for the Jefferson Parish Landfill has been prepared by Carlson
Environmental Consultants, PC (CEC) for the exclusive use of Jefferson Parish, Louisiana. The
Assessment is intended for readers with at least a basic understanding of solid waste and landfill gas
management. This Report has been prepared in accordance with the care and skill generally exercised
by reputable LFG professionals, under similar circumstances, in this or similar localities. CEC relied
upon information and data provided by Parish, APTIM, and Renovar/Mass Energy personnel and
performed a five-day field assessment. No other warranty, express or implied, is made as to the
professional opinions presented herein. CEC does not warrant the accuracy of the information
provided by others or of the use of segregated portions of this document. Any reliance on this Report
by a third party is at such party's sole risk. Recommendations and opinions contained in this Report
apply to conditions (existing and projected) as of the date of this document. While we believe these
are likely the primary causes of the reduction in flow and quality fluctuations, CEC cannot guarantee
the results gained from these recommendations. We believe that the guidelines presented here are
widely accepted within the LFG industry and have been successful at other sites CEC has operated.

Please note that the LFG generation and recovery models presented in this report, like any other
mathematical projection, should be used only as a tool, and not an absolute declaration of the rate of
LFG generation or recovery. Changes in the landfill property use and conditions (for example, variations
in rainfall, water levels, landfill operations, LFG system expansions, final cover systems, or other
factors) may affect LFG generation and recovery at the site. CEC does not guarantee the quantity or
the quality of available landfill gas.

This Assessment is not intended to provide comprehensive plans for H2S health and safety or odor
assessment, prevention, or mitigation.

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EXHIBIT 1

LFG FIELD DATA
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EXHIBIT 2
GAS WELL WATER AND PERFORATED PIPE ANALYSIS DATA

CEC FIELD DATA
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Case 2

740 Z ‘ON ade

Dd ‘Suny

1MUq UOS}IDD

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NadO %0S > VLVd G14I4 349

SISATVNV AdId GALVuOsNAd GNV YALVM TISM SV9 - f LIGTHX4

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EXHIBIT 3
GAS WELL WATER AND PERFORATED PIPE ANALYSIS

APTIM FIELD DATA
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Case 2

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SISAIVNV AdId GALVYOINAd GNV YALVM 114M SV9 - € LIGIHX4

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Case 2

940 Z “ON aBed

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SISATVNV JdId GALVaOINAd GNY YALVM 114M SV9 - € LIGIHX4

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Case 2

949 EON adeg

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Case 2

940 pON ade

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SISATVNV AdId G3ivuOsddsd GNV YALVM 114M SV9 - € LIGTHX3

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sJUBWaINSeal gid PUE WL 34} Woy peye}gns si JUNOWe $14} - Bpesd BAOge Bulsed [Jam 34} JO LYSIa} = JUBI9H SuIseD ‘p

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SuISed [Jam 24} JO do} ay} WO1y Psinseaw se |jaM 3} Ul jaAa| Ja}eM Buy} JO do} ay} O} ydap paunsesy = MLO “Z

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Case 2

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SISATVNYV ddId GALVuYOsIeAd GNV YALVM T1SM SV9 - € LIGIHXS

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EXHIBIT 4

LEAGHATE RISER ASSESSMENT DATA
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Z 40 T ‘ON a8eq

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Case 2:19-cv-11133-SM-MBN Document 207-9 Filed 10/04/21 Page 53 of 95

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Case 2:19-cv-11133-SM-MBN Document 207-9 Filed 10/04/21 Page 54 of 95

EXHIBIT 5

LFG SUMP ASSESSMENT DATA
Case 2:19-cv-11133-SM-MBN Document 207-9 Filed 10/04/21 Page 55 of 95

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Case 2:19-cv-11133-SM-MBN Document 207-9 Filed 10/04/21 Page 56 of 95

EXHIBIT 6
6A - HYDROGEN SULFIDE SCGAN DATA

6B - WELL BORE SEAL
Case 2:19-cv-11133-SM-MBN Document 207-9 Filed 10/04/21 Page 57 of 95

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Case 2:19-cv-11133-SM-MBN Document 207-9 Filed 10/04/21 Page 58 of 95

EXHIBIT 6B

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ELIMINATE WELLBORE GAS LEAKS,
AIR INTRUSION AND UNDERGROUND FIRES

LANDTEC WBS Wellbore Seals help prevent gas leaks and air intrusion.
The Impermeable barrier allows landfill operators to use higher vacuum
pressures at the wellhead with less concern about air intrusion
and possible subsurface fires. Higher vacuums can help minimize
emissions and subsurface migration.

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INFO @QEDENV.COM 800-LANDTEC ; 9 | A eee en Oo
Perera IPC REL MULT

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VW TECHNICAL SPECIFICATION

LANDTEC
WellBore Seal

Wits MOUNTING CLAMP A INSTALLATION

(STAINLESS STEEL)
MOUNTING HOOT (30 mil)

SHAM ATL (30 ei)

EXISTING WELL CASING

HS MOUNTING Cl »
OTENTIAL ws ING CLAMI
HOOT INSTALLATION IN COLLAPSED

INSTRUSION be POSITION 10 ACCOMMODATE.

Oo LANDFILL SENLEMENT
10 7 es
| WELL [ORE
: “7 (MP TYMCAL)
: POTENTIAL,
INTRUSION

LANDTEC'S WBS impenncable membrane is easily installed on well casings to prevent well-bore gns
leaks and air intrusion, The collapsible mounting boot design accommodates landfill settlement that can
create cracks and fissures in conventional sealing materinls

> Provides 100 square feet of impermeable protection

WBS-347 Wellbore seal for 3"-4" casing, 7' x 7' skirt

WBS-067 Wellbore seal for 6" casing, 7'x 7" skirt > Not susceptible to cracking due to settlement
WBS-087 Wellbore seal for 8" casing, 7' x7’ skirt > Cost effective, Reliable and Versatile
WBS-3410 Wellbore seal for 3"-4" casing, 10' x 10! skirt

WBS-0610 _| Wellbore seal for 6" casing, 10' x 10' skirt > Easy Installation and Minimal maintenance

WBS-0810 Wellbore seal for 8" casing, 10' x 10' skirt
WBSB-342 Wellbore Seal, Boot Only, for 3"-4" casing, 2' x 2' skirt
WBSB-062 Wellbore Seal, Boot Only, for 6" casing, 2' x 2' skirt » Can be installed in a variety of applications

> Can be applied to new or existing installations

TOS AT CONE a eV

800-LANDTEC PEGI eer nao

Ee] INFO @QEDENV.COM
OY => 401 a1 |e: oo) CLO Oy
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EXHIBIT 7

SURFACE EMISSIONS SCAN RESULTS
Case 2:19-cv-11133-SM-MBN Document 207-9 Filed 10/04/21 Page 61 of 95

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EXHIBIT 8A & 8B

LFG LIQUIDS FORCEMAIN DESIGN & DETAILS
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Case 2:19-cv-11133-SM-MBN Document 207-9 Filed 10/04/21 Page 63 of 95

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EXHIBIT 9

FORGEMAIN INSTALLATION PROBABLE COST ESTIMATE
Case 2:19-cv-11133-SM-MBN Document 207-9 Filed 10/04/21 Page 66 of 95

EXHIBIT 9 - ENGINEER'S ESTIMATE OF PROBABLE COSTS
JEFFERSON PARISH LANDFILL
FORCEMAIN INSTALLATION - 2018

Units | Quantity] Cost ($) | Extended Cost ($)
Materials

8"x12" Dual Contained SDR-17 HDPE Pipe Ft 23,750 70.00 1,662,500.00
2" SDR-9 HDPE Pipe Ft 23,750 5.00 118,750.00
Forcemain Cleanout EA 71 1,500.00 106,500.00
Forcemain Isolation Valve Station w/ARV EA 6 3,500.00 21,000.00
Air Line Isolation Valve Station EA 6 1,000.00 6,000.00

Labor
Pipe Installation Ft 23,750 15.00 356,250.00
Valve/Clean Out installation Ea 83 1,200.00 99,600.00
Construction Quality Assurance (CQA) 10% 227,100.00
Construction Management 10% 227,100.00
Engineering Design Services 10% 227,100.00
Contingency 20% 454,200.00
Total 3,506,100.00

Notes:

1. Material costs were based on typical vendor costs and material estimates for similar projects.
2. Labor costs were based on typical construction installation costs for similar work.

Carlson Environmental Consultants, PC
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EXHIBIT 10

PUMP INSTALLATION PROBABLE COST ESTIMATE

10A > PUMP CURVES
10B - PUMP QUOTE

10CG - FIELD TEST STATION
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EXHIBIT 10 - ENGINEER'S ESTIMATE OF PROBABLE COSTS

JEFFERSON PARISH LANDFILL
LOW DRAW-DOWN DEWATERING PUMP INSTALLATION

Units [Quantity] Cost ($) | Extended Cost (§)
Materials
Dewatering Pumps EA 50 2,850.00 142,500.00
Air Supply/Ligquid Discharge Tubing Ft 2,000 6.00 12,000.00
Cycle Counters EA 50 200.00 10,000.00
Air Supply/Liquid Discharge Modifications EA 50 1,200.00 60,000.00]
Pump Maintenance Station EA 1 2,800.00 2,800.00
Labor
Pump Installation EA 50 500.00 25,000.00
Engineering 10% 25,230.00
Taxes and Shipping 10% 25,230.00
Contingency 20% 50,460.00}
Total 353,220.00
Notes:

1. The material costs are based on quotes received in June 2018 from Pump One Environmental.
2. The pump installation cost is an estimate based on typical installation costs.

Carlson Environmental Consultants, PC
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EXHIBIT 10A

sToLacey ee il (clmmee) tLe) a

Flow Rates!

3/4 inch (19 mm) 1 inch (25.4 mm)
inside Diameter Discharge Hose Inside Diameter Discharge Hose
(Equivalent to 1-Inch 0.D.Tubing) (Equivalent to 1.25-Inch 0.D.Tubing)
SUBMERGENCE OF PUMP HEAD [[@-NCH(15 cm] SUBMERGENCE OF PUMP HEAD
18 68.1
18 68.1
16 60.6 16 60.6
GALLONS i" ; 33 appRoxiMate Gattons 53 AppRoXIMATE
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ee be TKgfcm 7 Th SS :
40Pst [Sapa " 2 40 PS! mT 76
3 Ka/eny2 2 70
, 4 Tor 12014 “rr DEPTH og 1 3kgien" SKufem?
) 20 40 60 140 160 180 200 FT,
@ 20 40 60 80 100 120 140 160 180 200 “et. DEPTH
61 122183244 305366427488 549 61 Meters Ee 6.1 12.2 18.3 24.4 30.5 36.6 42.7 48.8 54.9 61 Meters _JIN WELL
PUOMEN GEMS O RUM RENG, SUBMERGENCE OF PUMP HEAD
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6
16 60 16 60.6
14 53
LOP APPROXIMATE
cAiyons 7 ———— We as a GALLONS “4 53 AppROXIMATE
I , PER 12 | AIR INLET PRESSURES i— 45.4 LITERS
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: . MINUTE 10 PER
WITH K, a vaTH = fan
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bh Ss, IINCH ISA . WITH
10. HOSE 6 ~ 227 19mm Na a
MS, [100 Ps) 15.4 bDuHosE 1D. HOSE 6 XK I Toon T 227 mm
~3as SS [7 Kokm? , 4 SL Kglem? J 151 WOsHOSE
2 76 i
| Sena [ys 1 = 2 40 PS| tte! 76
0 glom, 5kigiem ? 0 3Kg/em? 70 PSI
6 20 40 60 8 140 160 180 200 FT. DEPTH 0 Skakm2 1} 9
6.1 12.2 18.3 24.4 30.5 36.6 42.748.8 54.9 61 Meters —JIN WELL 0 20 40 60 80 100 120 140 200 FT. DEPTH
6.1 12.2 18.3 24.4 30.5 36.6 42,748.8 54.9 61 Meters —JINWELL
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16 60.6
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6.1 12.2 18.3 24.4 30.5 36.6 42.7 48.8 54.9 61 Meters iN WELL

iFLOW RATES MAY VARY WITH SITE CONDITIONS. CALL QED FOR TECHNICAL ASSISTANCE.

VW QED

Env eanmenta! Systann,

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PUMPONE

ENVIRONMENTAL.

704-786-8158 PumpOneLLC.cam

EXHIBIT 10B

Quote Number: 4544
Revision No.: 4

Pump One Environmental, LLC

Pump One Environmental, LLC
Concord, NC 28027-8719
Phone: 704.786.8158

Site Reference: jefferson Parish Landfill

Sales Representative: Shawn Devinney

Phone #: 704.575.1999

Email: Shawn@PumpOneLLC.com
Fax: 704-788-6814
Email: Shawn@PumpOnellc.com
Bill To: Ship To:
Carlson Environmental Consultants Jefferson Parish Sanitary Landfill
1853 Piedmont Rd Ste 301 5800 Highway 90 W
Marietta, GA 30066-4270 Westwego, LA 70094-5922
Customer: Carlson Environmental Consulta Jeff Schulz
Prepared By | Payment Terms Carrier Ship Service Requested Ship Date | Estimated Tax
Jeff Net 30 Fedex Ground 06/26/2018 $ 0.00
Item Unit Qty
# Type Part # Description Price Ordered Total Price
1 Kit |XP4-LDD XP4-LDD, Low Draw Down Pump $ 1,800.00 lea $ 1,800.00
5 Sale |2000017 Pump One Stainless Steel Fast-Fitting $ 108.00 1ea $ 108.00
Kit for Nylon Tubing
6 Sale |2000069 Air Intake Kit, Quick Connect $ 375.20 1 ea $ 375.20
Connection, Assembly
7 Sale |2000189 PVC Leachate Discharge Kit, Valve $ 144,00 lea $ 144.00
Manifold, 1"
8 Sale |2000269 Well Seal, 6" Fernco, 2" Dual Ext. $ 244.00 1 ea $ 244.00
Reinforcer, Pass Thru
9 Sale |1001088 Pass Thru Adapter $ 60.00 1ea $ 60.00

June 26, 2018 3:01

:40 PM EDT

Page 1 of2

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PUMPONE Quote

ENVIRONMENTAL.
PurmpOneLLC.com

704-788-8158
Quote Number: 4544
Revision No.: 4

Site Reference: Jefferson Parish Landfill
Pump One Environmental, LLC

Pump One Environmental, LLC

Concord, NC 28027-8719 Phone #; 704.575.1999
Phone: 704.786.8158

Fax: 704-788-6814

Email: Shawn@PumpoOnellc.com

Sales Representative: Shawn Devinney

Email: Shawn@PumpOneLLC.com

Terms & Conditions:

Estimated shipping time is 2-5 business days after Purchase Order is received, not
including transit time. All quotes are in U.S. dollars, FOB SHIPPING POINT, USA. A Purchase
Order is required at time of order (hard copy, or verbal.) Payment terms are calculated
from invoice date and subject to credit approval. A service charge of 3% will be added to

any invoices paid for via Credit or Debit Card. Shipping and handling costs willbe prepaid Subtotal: $ 2,731.20
and added to the invoice, Estimate available upon request. The total price DOES NOT :

include applicable sales tax, CC/debit processing fees, or shipping & handling charges a i $ 0.00
unless they are shown as separate line item(s). (Applicable taxes will not be shown at the Shipping: $ 85.00
bottom of the estimate) Total: $ 2,816.20

June 26, 2018 3:01:40 PM EDT Page 2 of2
EXHIBIT 10C

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DESCRIPTION

PumpOne's Test Station is designed to test and troubleshoot
your pumps to assure they are working properly at their peak
performance. With this configuration you are able to simulate
high discharge head pressure, slow recharge rate, and test for
any leaks.

SPECIFICATIONS

= 10 gallon holding tank
= Easy to use interface
= 31/2" Pressure Gauge to test head pressure
= All hoses and Fast Fittings included for
full installation
= Heavy duty carbon steel powder
coated frame
Designed to anchor into floor for
support and safety
= Unmatched service and support
= Pulley system to insert and remove pump

*See drawing number 3000039 for details.

3000040 REV 5 07/19/16
Case 2:19-cv-11133-SM-MBN Document 207-9 Filed 10/04/21 Page 73 of 95

EXHIBIT 11

PUMP EXHAUST INSIDE WELL GALCGULATIONS

11A—- VAGUUM OPERATION
Case 2:19-cv-11133-SM-MBN Document 207-9 Filed 10/04/21 Page 74 of 95

EXHIBIT 11 - PUMP EXHAUST INSIDE WELL CALCULATIONS

Pump Exhausted Exterior Pump Exhausted Interlor
feet inches feet inches
Total Depth 34 #08] Total Depth 34 408
Solid Plpe 2S| 300) Solid Pipe 25) 300)
Perf Pipe 10 120) Perf Pipe 10 120)
Bottom of Pump a 12 Bottom of Pump 1 12
Pump Height 3.4 40.25 Pump Height 19 22.75
Pump Activation 203. 28) Pump Activation 1.2 14.3)
Diff pressure on pump 25 40) Diff pressure on pump 0 q
Height of liquid Height of liquid 41 46,55
“typical dewatering pump “low draw down (LOD}dewatering pump
External Exhaust Internal Exhaust

@ Open Perforatlons © Open Perforations

@ Watered In @ Watered In

Well ID

External Exhaust Internal Exhaust
Total Open Open | Watered | Potential
Installed |Perforati) Watered In Perforations | Perforati In Improve
Perforati| ons ons Perforati | ment (FT)
3812 2021.9 1790.1 2726.4 | 1085.6 704.8
1 53% 47% 72% 28%

;
X i | Priority 2: Potential to
i

galn 10 feet of
perforations. 10 Wells

High Priority: Potential to
gain up to 20 feet of
perforations. 5 Wells

110 Priority 3: Potential to
111 gain at least 2 feet of
112 perforations. 32 Wells

237

336

346
352

395

Carlson Environmental Consultants, PC
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@ PumMPONe

EXHIBIT 11A
VACUUM OPERATION

How It Works: Maximum
Drawdown
A vacuum applied to the well creates a
pressure difference between the well
gas and the higher atmospheric
pressure inside the pump. This occurs
when the exhaust exits outside the well.
15
a Pump
WW/AN@: Trip Point

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lf a vacuum of 20” water column is
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the pump for it to fill. And, the pump can
only draw the well down to 20" higher
than the upper trip point of the pump.

PUMPONE

ENVIRONMENTAL

10308 Bailey Rd. Building 418
Cornelius, NC 28031

PumpOneLLC.com
Case 2:19-cv-11133-SM-MBN Document 207-9 Filed 10/04/21 Page 76 of 95

EXHIBIT 12A—- 12D
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EXHIBIT 13

GCOcS COLLECTION EFFICIENCY MODEL

13A — 50% RECOVERY

13B -— 75% RECOVERY
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EXHIBIT 13A - Landfill Gas Modeling - 50% Recovery
JEFFERSON PARISH LANDFILL - WAGGAMAN, LA

Waste Waste Methane _ | Landfill Gas | Landfill Gas | Landfill Gas
Disposal Waste Disposal Waste Generation || Generation | Collection Fugitive
Rate In-Place Rate In-Place Estimate Estimate Estimate Estimate
Year (tons/yr) (tons) (Mg/yr) (Mg) (m?/yr) (cfm) (cfm) (cfm)

1982 41,035 0 37,226 0 0.000E+00 0 0 0
1983 96,522 41,035 87,563 37,226 1.861E+05 25 13 13
1984 164,340 137,557 149,087 124,790 6.149E+05 83 41 41
1985 231,455 301,897 209,972 273,876 1.330E+06 179 89 89
1986 236,329 533,352 214,394 483,849 2.315E+06 311 156 156
1987 247,982 769,681 224,965 698,243 3.274E+06 440 220 220
1988 273,050 1,017,663 247,707 923,208 4,.239E+06 570 285 285
1989 279,845 1,290,713 253,871 1,170,915 5.271E+06 708 354 354
1990 333,046 1,570,558 302,134 1,424,786 6.284E+06 844 422 422
1991 337,665 1,903,604 306,325 1,726,921 7.488E+06 1,006 503 503
1992 289,477 2,241,269 262,609 2,033,245 8.654E+06 1,163 581 581
1993 307,385 2,530,746 278,855 2,295,854 9.545E+06 1,283 641 641
1994 342,833 2,838,131 311,013 2,574,709 1.047E+07 1,407 704 704
1995 366,802 3,180,964 332,757 2,885,722 1.152E+07 1,548 774 774
1996 355,596 3,547,766 322,591 3,218,479 1.262E+07 1,696 848 848
1997 482,079 3,903,362 437,335 3,541,070 1.362E+07 1,830 915 915
1998 377,974 4,385,441 342,892 3,978,405 1.514E+07 2,035 1,017 1,017
1999 441,414 4,763,415 400,444 4,321,297 1.612E+07 2,166 1,083 1,083
2000 432,926 5,204,829 392,744 4,721,741 1.733E+07 2,329 1,165 1,165
2001 469,891 5,637,755 426,278 5,114,485 1.845E+07 2,479 1,240 1,240
2002 452,469 6,107,646 410,473 5,540,763 1.968E+07 2,645 1,322 1,322
2003 422,286 6,560,115 383,091 5,951,236 2.077E+07 2,792 1,396 1,396
2004 438,155 6,982,401 397,488 6,334,328 2.168E+07 2,913 1,456 1,456
2005 451,936 7,420,556 409,989 6,731,815 2.261E+07, 3,038 1,519 1,519
2006 398,818 7,872,492 361,802 7,141,805 2.355E+07 3,165 1,583 1,583
2007 384,326 8,271,310 348,655 7,503,606 2.422E+07 3,254 1,627 1,627
2008 339,903 8,655,636 308,355 7,852,261 2.478E+07 3,330 1,665 1,665
2009 305,102 8,995,539 276,784 8,160,616 2.511E+07 3,374 1,687 1,687
2010 334,190 9,300,641 303,172 8,437,400 2.527E+07 3,396 1,698 1,698)
2011 341,304 9,634,831 309,626 8,740,572 2.555E+07 3,434 1,717 1,717
2012 319,423 9,976,135 289,776 9,050,198 2.586E+07 3,474 1,737 1,737
2013 371,393 10,295,558 336,922 9,339,973 2.604E+07 3,500 1,750 1,750
2014 348,324 10,666,951 315,994 9,676,895 2.646E+07 3,555 1,778 1,778
2015 348,324 11,015,275 315,994 9,992,889 2.675E+07 3,594 1,797 1,797
2016 329,000 11,363,599 298,464 10,308,884 2,702E+07 3,631 1,816 1,816)
2017 400,144 11,692,599 363,005 10,607,347 2.720E+07 3,655 1,827 1,827
2018 416,300 12,092,743 377,661 10,970,352 2,.769E+07 3,720 1,860 1,860)
2019 348,324 12,509,043 315,994 11,348,013 2,822E+07 3,793 1,896 1,896
2020 348,324 12,857,367 315,994 11,664,007 2,.843E+07 3.820 1,910 1,910)
2021 348,324 13,205,691 315,994 11,980,001 2.862E+07 3,846 1,923 1,923
2022 348,324 13,554,015 315,994 12,295,996 2.880E+07 3,871 1,935 1,935
2023 348,324 13,902,339 315,994 12,611,990 2.898E+07 3,894 1,947 1,947
2024 348,324 14,250,663 315,994 12,927,984 2.915E+07 3,917 1,958 1,958
2025 348,324 14,598,987 315,994 13,243,978 2.931E+07 3,938 1,969 1,969
2026 348,324 14,947,311 315,994 13,559,973 2.946E+07 3,958 1,979 1,979
2027 348,324 15,295,635 315,994 13,875,967 2.960E+07 3,978 1,989 1,989
2028 348,324 15,643,959 315,994 14,191,961 2.974E+07 3,996 1,998 1,998
2029 348,324 15,992,283 315,994 14,507,955 2.987E+07 4,013 2,007 2,007
2030 348,324 16,340,607 315,994 14,823,949 2.999E+07 4,030 2,015 2,015
2031 348,324 16,688,931 315,994 15,139,944 3.011E+07 4,046 2,023 2,023
2032 348,324 17,037,255 315,994 15,455,938 3.022E+07 4,061 2,030 2,030
2033 348,324 17,385,579 315,994 15,771,932 3.032E+07 4,075 2,037 2,037
2034 348,324 17,733,903 315,994 16,087,926 3.043E+07 4,088 2,044 2,044
2035 348,324 18,082,227 315,994 16,403,921 3.052E+07 4,101 2,051 2,051
2036 0 18,430,551 0 16,719,915 3.061E+07 4,114 2,057 2,057
2037 0 18,430,551 0 16,719,915 2.912E+07 3,913 1,957 1,957
2038 0 18,430,551 0 16,719,915 2.770E+07 3,722 1,861 1,861
2039 0 18,430,551 0 16,719,915 2.635E+07 3,541 1,770 1,770
2040 0 18,430,551 0 16,719,915 2.506E+07 3,368 1,684 1,684

ASSUMED METHANE CONTENT OF LFG: 50%

ASSUMED COLLECTION EFFICIENCY OF LFG SYSTEM: 50%

ASSUMED DECAY RATE CONSTANT: 0.05

ASSUMED ULTIMATE METHANE RECOVERY RATE: 3,203.7 ft3/ton

METRIC EQUIVALENT: 100 cum/Mg
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EXHIBIT 13B - Landfill Gas Modeling - 75% Recovery
JEFFERSON PARISH LANDFILL - WAGGAMAN, LA

Waste Waste Methane LFG LFG LFG
Disposal Waste Disposal Waste Generation || Generation | Collection Fugitive
Rate In-Place Rate In-Place Estimate Estimate Estimate Estimate
Year {tons/yr) (tons) (Mg/yr) (Mg) (m?/yr) (cfm) (cfm) (cfm)

1982 41,035 0 37,226 0 0.000E+00) 0 0 0
1983 96,522 41,035 87,563 37,226 1.861E+05 25 19
1984 164,340 137,557 149,087 124,790 6.149E+05 83 62 21
1985 231,455 301,897 209,972 273,876 1.330E+06 179 134 45
1986 236,329 533,352 214,394 483,849 2.315E+06 311 233 78
1987 247,982 769,681 224,965 698,243 3.274E+06 440 330 110)
1988 273,050 1,017,663 247,707 923,208 4.239E+06 570 427 142
1989 279,845 1,290,713 253,871 1,170,915 5,271E+06 708 531 177
1990 333,046 1,570,558 302,134 1,424,786 6.284E+06 844 633 211
1991 337,665 1,903,604 306,325 1,726,921 7.488E+06 1,006 755 252
1992 289,477 2,241,269 262,609 2,033,245 8.654E+06 1,163 872 291
1993 307,385 2,530,746 278,855 2,295,854 9.545E+06 1,283 962 321
1994 342,833 2,838,131 311,013 2,574,709 1.047E+07 1,407 1,056 352
1995 366,302 3,180,964 332,757 2,885,722 1.152E+07 1,548 1,161 387
1996 355,596 3,547,766 322,591 3,218,479 1.262E+07 1,696 1,272 424
1997 482,079 3,903,362 437,335 3,541,070 1.362E+07 1,830 1,372 457
1998 377,974 4,385,441 342,892 3,978,405 1.514E+07 2,035 1,526 509
1999 441,414 4,763,415 400,444 4,321,297 1.612E+07 2,166 1,624 541
2000 432,926 5,204,829 392,744 4,721,741 1.733E+07 2,329 1,747 582
2001 469,891 5,637,755 426,278 5,114,485 1.845E+07 2,479 1,860 620
2002 452,469 6,107,646 410,473 5,540,763 1.968E+07 2,645 1,984 661
2003 422,286 6,560,115 383,091 5,951,236 2.077E+07 2,792 2,094 698
2004 438,155 6,982,401 397,488 6,334,328 2.168E+07 2,913 2,185 728
2005 451,936 7,420,556 409,989 6,731,815 2.261E+07 3,038 2,278 759
2006 398,818 7,872,492 361,802 7,141,805 2.355E+07 3,165 2,374 791
2007 384,326 8,271,310 348,655 7,503,606 2.422E+07 3,254 2,440 813
2008 339,903 8,655,636 308,355 7,852,261 2.478E+07 3,330 2,497 832
2009 305,102 8,995,539 276,784 8,160,616 2,511E+07 3,374 2,531 844
2010 334,190 9,300,641 303,172 8,437,400 2.527E+07 3,596 2,547 849
2011 341,304 9,634,831 309,626 8,740,572 2.555E+07 3,434 2,575 858
2012 319,423 9,976,135 289,776 9,050,198 2.586E+07 3,474 2,606 869
2013 371,393 10,295,558 336,922 9,339,973 2.604E+07 3,500 2,625 875
2014 348,324 10,666,951 315,994 9,676,895 2.646E+07 3,555 2,667 889
2015 348,324 11,015,275 315,994 9,992,889 2.675E+07 3,594 2,696 899
2016 329,000 11,363,599 298,464 10,308,884 2.702E+07 3,631 2,723 908
2017 400,144 11,692,599 363,005 10,607,347 2.720E+07 3,655 2,741 914
2018 416,300 12,092,743 377,661 10,970,352 2.769E+07 3,720 2,790 930
2019 348,324 12,509,043 315,994 11,348,013 2.822E+07 3,793 2,845 948
2020 348,324 12,857,367 315,994 11,664,007 2.843E+07 3,820 2,865 955
2021 348,324 13,205,691 315,994 11,980,001 2.862E+07 3,846 2,885. 962
2022 348,324 13,554,015 315,994 12,295,996 2.880E+07 3,871 2,903 968
2023 348,324 13,902,339 315,994 12,611,990 2.898E+07 3,894 2,921 974
2024 348,324 14,250,663 315,994 12,927,984 2.915E+07 3,917 2,938 979
2025 348,324 14,598,987 315,994 13,243,978 2,931E+07 3,938 2,953 984
2026 348,324 14,947,311 315,994 13,559,973 2.946E+07 3,958 2,969 990
2027 348,324 15,295,635 315,994 13,875,967 2.960E+07 3,978 2,983 994
2028 348,324 15,643,959 315,994 14,191,961 2.974E+07 3,996 2,997 999
2029 348,324 15,992,283 315,994 14,507,955 2.987E+07 4,013 3,010 1,003
2030 348,324 16,340,607 315,994 14,823,949 2.999E+07 4,030 3,022 1,007
2031 348,324 16,688,931 315,994 15,139,944 3.011E+07| 4,046 3,034 1,011
2032 348,324 17,037,255 315,994 15,455,938 3.022E+07 4,061 3,045 1,015
2033 348,324 17,385,579 315,994 15,771,932 3.032E+07 4,075 3,056 1,019
2034 348,324 17,733,903 315,994 16,087,926 3.043E+07 4,088 3,066 1,022
2035 348,324 18,082,227 315,994 16,403,921 3.052E+07 4,101 3,076 1,025
2036 0 18,430,551 0 16,719,915 3.061E+07 4,114 3,085 1,028
2037 0 18,430,551 0 16,719,915 2.912E+07 3,913 2,935 978
2038 0 18,430,551 0 16,719,915 2.770E+07 3,722 2,792 931
2039 0 18,430,551 0 16,719,915 2.635E+07 3,541 2,656 885
2040 0 18,430,551 0 16,719,915 2.506E+07 3,368 2,526 842

ASSUMED METHANE CONTENT OF LFG: 50%

ASSUMED COLLECTION EFFICIENCY OF LFG SYSTEM: 75%

ASSUMED DECAY RATE CONSTANT: 0.05

ASSUMED ULTIMATE METHANE RECOVERY RATE: 3,203.7 ft3/ton

METRIC EQUIVALENT: 100 cu m/Mg
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EXHIBIT 14

LFG WELLFIELD EXPANSION PROBABLE COST ESTIMATE
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EXHIBIT 14 - ENGINEER'S ESTIMATE OF PROBABLE COSTS

JEFFERSON PARISH LANDFILL
LFG WELLFIELD EXPANSION - 2018

ITEM ESTIMATED UNIT PRICE TOTAL
NO. TREMIDESCRIREION UNI QUANTITY IN FIGURES IN FIGURES
I Mobilization/Demobilization, Bonds, Lump Sum | $ 110,000.00 | $ 110,000.00
Insurance
2 Indemnification Lump Sum 1 $ 30,000.00 | $ 30,000.00
3 Surveying Lump Sum ] $ 70,000.00 | $ 70,000.00
4 Landfill Gas Extraction Wells Vertical FT 6800 $ 100.00 | $ 680,000.00
5 Decommissioning Extraction Wells EA 50 $ 650.00 | $ 32,500.00
6 2” @ Extraction Well Wellheads EA 140 $ 800.00 | $ 112,000.00
7 3” @ Extraction Well Wellheads EA 30 $ 1,300.00 | $ 39,000.00
8 8” @ ATZ Well Seal EA 170 $ 400.00 | $ 68,000.00
9 8” @ HDPE SDR-17 B/G LF 1000 $ 37.00 | $ 37,000.00
10 |6°@ HDPE SDR-17 B/G LF 7000 $ 30.00 | $ 210,000.00
4” @ HDPE SDR11 Condensate Force- |LF 3500 $ 7.00 | $ 24,500.00
1] main B/G (Common Trench w/Gas
Header)
2” @ HDPE SDR9 Pneumatic Supply |LF 3500 $ 3.00 | $ 10,500.00
12 Line B/G (Common Trench w/Gas
Header)
1B 2” © HDPE SDR 9 Pneumatic Supply |LF 3500 $ 19.00 | $ 66,500.00
Line B/G (Separate Trench)
14 4” @ HDPE SDR [! Condensate Force- |LF 3500 $ 25.00 | $ 87,500.00
main B/G (Separate Trench)
5 12” @ Butterfly Isolation Valve B/G EA 4 $ 12,000.00 | $ 48,000.00
w/5’ stem
16 4” @ Ball Isolation Valve — A/G - EA 50 $ 1,900.00 | $ 95,000.00
Condensate System
7 2” @ Ball Isolation Valve—A/G-Air |EA 25 $ 1,100.00 | $ 27,500.00
Supply System
18  |Road-crossing (30-inch @ CMP) LF 500 $ 100.00 | $ 50,000.00
19  |Road-crossing (24-inch @ CMP) LF 500 $ 60.00 | $ 30,000.00
20  |Cover Restoration & Revegetation Lump Sum 1 $ 120,000.00 | $ 120,000.00
21 Air Compressor Lump Sum 1 $ 50,000.00 | $ 50,000.00
22 Blower Skid Review Lump Sum 1 $ 10,000.00 | $ 10,000.00
Non-Routine LFG Collection System Crew Hours 25 $ 500.00 | $ 12,500.00
23 :
Construction Work
24  |Engineering Design Services 10% LS 1 $ 200,000.00 | $ 200,000.00
25 Construction Quality Assurance 10% LS 1 $ 200,000.00 | $ 200,000.00
26 Construction Management 10% LS 1 $ 200,000.00 | $ 200,000.00
27 ~—‘|Contingency 20% LS 1 $ 400,000.00 | $ 400,000.00
28 = =|5°—7° Extra Trench Depth LF 1000 $ 13.00 | $ 13,000.00
29 = |7°—10° Extra Trench Depth LF 1000 $ 17.00 | $ 17,000.00
|TOTAL 1S 3,050,500.00
Notes:
1. Material costs were based on typical vendor costsand material estimates for similar projects.
2. Labor costs were based on typical construction installation costs for similar work.
A/G = Above Ground B/G=Below Ground EA=Each LF=LinearFeet LS=Lump Sum VF = Vertical Feet

Referenced to Exhibit 12D

Carlson Environmental Consultants, PC
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EXHIBIT 15
HYDROGEN SULFIDE PAPER

JEFFREY D. MARSHALL, PE
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2017 World of Coal Ash (WOCA) Gonterence in Lexington, KY - May 9-11, 2017
http:/Avww, flyash.info/

Hydrogen Sulfide Issues at Coal Combustion
Residual and Municipal Solid Waste Disposal
Facilities
Jeffrey D. Marshall, PE’

'SCS Engineers, 11260 Roger Bacon Drive, Reston, VA 20190

CONFERENCE: 2017 World of Coal Ash — Lexington, Kentucky
(www. worldofcoalash.org)

KEYWORDS: hydrogen sulfide, municipal solid waste, coal combustion residuals, co-
disposal, flue gas desulfurization (FGD), calcium sulfate, synthetic gypsum

BACKGROUND

Historically, coal combustion residuals (CCRs) have been stored in and/or disposed of
in dedicated ponds and landfills. In the future, we anticipate that CCRs will also be
placed in dedicated units that comply with the new U.S. Environmental Protection
Agency (USEPA) design, construction, and operating regulations. In the interim, as old
CCR units are being closed and new units are not yet available, industry professionals
are increasingly interested in the co-disposal of CCR in existing municipal solid waste
(MSW) landfills.

While the waste industry has limited experience with co-disposal of CCR and MSW,
landfill operators have significant experience with the disposal of drywall (aka gypsum)
and MSW. Under certain conditions, gypsum decomposition can generate problematic
amounts of hydrogen sulfide. Similar conditions could occur if select CCR streams are
co-disposed and co-mingled with MSW.

This paper discusses the conditions that contribute to hydrogen sulfide generation in an
MSW landfill, health and odor concerns associated with hydrogen sulfide, and potential
mitigation options.

Major CCR streams include bottom ash/slag, fly ash, and flue gas desulfurization (FGD)
material. The physical and chemical properties of the CCRs are covered elsewhere.
This paper focuses on concerns regarding hydrogen sulfide generation resulting from
co-disposal of sulfate-containing CCRs with MSW. FGD, which is essentially calcium
sulfate (aka gypsum, CaSO4*2H20), has a high sulfur content and presents the greatest
concern for hydrogen sulfide generation.
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HYROGEN SULFIDE CONCERNS
Hydrogen sulfide gas presents a series of significant issues and concerns, including:

e Health/toxicity issues
e Odor issues

e Equipment corrosion

e Air emissions/permitting issues

HEALTH/TOXICITY ISSUES

The primary exposure pathway for hydrogen sulfide is inhalation, because it is a gas
under typical conditions. Lower concentration exposures can cause neurological and
respiratory effects; irritation to the eyes, nose, or throat; fatigue, headaches, and
nausea.

“Brief exposures to high concentrations of hydrogen sulfide (greater than 500 ppm) can
cause a loss of consciousness. In most cases, the person appears to regain
consciousness without any other effects. However, in many individuals, there may be
permanent or long-term effects such as headaches, poor attention span, poor memory,
and poor motor function.” (ATSDR ToxFAQs)

High concentrations and exposures can be lethal.

Various government agencies and organizations have established inhalation exposure
standards, covering a multitude of acute and chronic exposure scenarios. Some of the
more common standards include:

« OSHA Permissible Exposure Limits
— 8-hour Time Weighted Average (TWA): Not Est.
— Vacated (1993) 8-hr TWA: 10 ppm
— Ceiling: 20 ppm
— Peak (10 minutes): 50 ppm
* NIOSH Exposure Limits
— Ceiling (10 minutes): 10 ppm
— Immediately Dangerous to Life & Health (IDLH): 100 ppm
* ACGIH Exposure Limits (2015)
— 8-hour Threshold Limit Value - TWA: Not Est.
— Ceiling (no time limit): 10 ppm
* ATSDR Minimal Risk Levels for Inhalation
— Acute (1 - 4 day exposure): 0.07 ppm
— Intermediate (14 - 364 days exposure): 0.02 ppm
* USEPA Regional Screening Level (May 2016) — Long Term Exposure
— Residential: 0.0014 ppm
— Industrial: 0.0059 ppm
¢ NC Ambient Air Level (15A NCAC 02D.1104): 0.086 ppm
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ODOR ISSUES

Hydrogen sulfide exhibits the characteristic sulfur odor of rotten eggs. The odor
threshold in air is very low, reported in the range of 0.0005 to 0.3 ppm (ATSDR
Toxicological Profile, December 2016). The very low odor threshold can result in
complaints from facility workers and neighbors, even in situations where the hydrogen
sulfide concentration may be below risk-based inhalation standards.

Exposure to hydrogen sulfide can lead to rapid olfactory fatigue or paralysis. With
continuous low-level exposure, a person loses the ability to smell the gas even though it
is still present. At high concentrations, this can happen very rapidly or even
instantaneously. Therefore, odor is not a reliable indicator. (Reference: OSHA Fact
Sheet).

In addition to hydrogen sulfide, the degradation of gypsum in an MSW landfill can also
produce other smelly sulfur compounds including mercaptans and thiophene.

EQUIPMENT CORROSION

Hydrogen sulfide corrodes many materials commonly used to construct landfill gas
(LFG) control systems; and can cause sulfide stress cracking in alloys, particularly at
elevated temperatures. Moisture — which is ubiquitous in MSW landfills — increases
corrosivity to metals. Hydrogen sulfide can be converted to sulfuric acid, which is highly
corrosive. High hydrogen sulfide concentrations may require the use of corrosion
resistant (and expensive) alloys and polymers for LFG system components. Sulfur
compounds can poison selective catalytic reduction (SCR) catalysts in nitrogen oxide
reduction systems.

AIR EMISSIONS/PERMITTING ISSUES

While hydrogen sulfide is neither a criteria pollutant nor a USEPA Hazardous Air
Pollutant (HAP), it is regulated as an air toxic (aka Toxic Air Pollutant - TAP) under
many state programs (e.g., NC). Reduced sulfur compounds also pose Prevention of
Significant Deterioration (PSD) implications during the permitting stage. Combustion
(e.g., flaring, internal combustion engine) converts hydrogen sulfide to sulfur dioxide, a
criteria pollutant.

While various sulfur removal technologies are available for retrofitting LFG systems, the
capital and operation and maintenance (O&M) costs are generally high (typically high 6
or 7 figures), and can outweigh economic benefit from disposal of high-sulfur wastes.

With respect to landfill gas to energy systems (LFGTE), note that CCRs do not generate
methane. Therefore, energy predictions based on MSW may overestimate the actual
energy realized by LFGTE systems.
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THE SEVEN CONDITIONS FOR CONVERSION OF SULFATES TO HYDROGEN
SULFIDE

Hydrogen sulfide can be produced when all of the following conditions are present:

Liquid Water

Source of Soluble Sulfate
Sulfate-reducing Bacteria
Organic Material

Anoxic Environment
Appropriate pH Range
Appropriate Temperature Range

NOaRON>

As described below, these conditions are likely to be present in an MSW co-disposal
scenario, but will not typically all be present in a CCR disposal facility.

Condition 1 - Liquid Water. The biological conversion of sulfate to hydrogen sulfide
occurs in the aqueous phase (i-e., free liquids must be present). While modern landfills
are equipped with leachate collection systems, the presence of perched and discrete
zones of saturation within the waste mass are relatively common. Nonetheless, proper
design, maintenance, and operating of leachate control systems can reduce the
presence of free liquids, thereby minimizing the potential for hydrogen sulfide
generation. Low permeability confining layers (e.g., clay used for daily cover) may trap
water in discrete pockets. Leachate recirculation (e.g., bioreactors) may exacerbate
moisture problems that lead to hydrogen sulfide generation.

Condition 2 - Source of Soluble Sulfate. Gypsum, having the chemical formula
CaSO«2H20, is a good source of soluble sulfate. Gypsum sources include FGD and
wallboard. Considering the high sulfur content in gypsum, small quantities can generate
problematic amounts of hydrogen sulfide. Fly ash and bottom ash contain lower
concentrations of sulfate, but with large volumes these waste streams still can represent
a major source of soluble sulfate when co-disposed in an MSW landfill.

Condition 3 - Sulfate-reducing Bacteria. Primary sulfate reducing bacteria (SRB)
include Desulfovibrio and Desulfotomaculum. These SRBs are believed to be commonly
present in MSW landfills, and less commonly present in construction and demolition
debris landfills. SRBs are not likely present in CCR monofills.

Condition 4 - Organic Material. SRBs use organic material as a food source to
multiply and degrade sulfate hydrogen sulfide. Carbon is a source of energy for the
bacteria. Typical MSW has a high organic content, and contains a wide variety of
organic materials such as wood, paper, cardboard, food, vegetative waste, and fabrics.

Condition 5 - Anoxic Environment. SRBs thrive under anoxic (without oxygen)
conditions. The presence of oxygen will stop bacteria growth and prevent hydrogen
sulfide generation, but will not necessarily kill SRBs. Anoxic conditions are typical in
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MSW landfills. While the injection of oxygen within the landfill may be an effective
method of terminating SRB activity, it is NOT recommended as it can lead to other
undesirable effects such as landfill fires.

Condition 6 - Appropriate pH Range. SRB reduction of sulfate to hydrogen sulfate is
reportedly optimum within a pH range of about 7 to 8, and does not occur outside a pH
range of about 4 to 9. The pH range within a typical MSW landfill fails within this activity
range.

Condition 7 - Appropriate Temperature Range. SRB reproduction and hydrogen
sulfide generation are reportedly optimum within a range of about 30°C to 38°C (86°F to
100°F). Many MSW landfills are within or a little above this optimum range. Studies of
SRB in geologic environments found reduced activity above about 60°C (140°F), and no
activity above about 80°C (176°F). Similarly, SRB activity ceases in freezing conditions
(no free liquids).

Considering these seven conditions, most are beyond the practicable control of the
landfill operator. However, there are few practicable measures that the landfill operator
can implement to prevent or minimize hydrogen sulfide at MSW and CCR co-disposal
sites. Potential measures include:

e Segregation of MSW and CCR, either using dedicated cells or dedicated
disposal areas that are arranged such that the disposed materials, and any
leachate generated through the materials, are not in contact.

e Aggressive Moisture Control via stringent operation and maintenance of
leachate and storm water management systems.

Other issues to be addressed when considering co-disposal of MSW and CCR, which
are beyond the reach of this paper, include geotechnical considerations (slope stability),
dust control, leachate chemistry, impact on landfill gas generation and collection, and
other operational issues. If a waste segregation approach is pursued to minimize
hydrogen sulfide, the waste segregation design and operation plans should address
these items.

CONCLUSION

When considering co-disposal of MSW and CCR, the old adage is particularly
applicable — An Ounce of Prevention is Worth a Pound of Cure. Generation of
hydrogen sulfide is a potential consequence of co-disposal, and can have negative
impacts for both the landfill operator and waste generator. Measures aimed at
minimizing hydrogen sulfide generation can be implemented, but must be evaluated
with respect to current design and operating practices, and economic considerations.
The waste industry and utility industry have an opportunity to learn as more co-disposal
experience is gained, and to develop best practices for CCR management at MSW
facilities.
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EXHIBIT 16

LFG WELLS TO INVESTIGATE
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EXHIBIT 16 - WELLS TO INVESTIGATE

JEFFERSON PARISH LANDFILL
JEFFERSON PARISH, LA

NSPS LESS TIIAN 30%
WELL EXCEEDANCE| LEANING METHANE IN COMMENT
>15 DAYS APRIL 2018
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EW167 x
EWJ70 X
EWI x.
EWa72 x
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Carlson Environmental Consultants, PC
